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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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  SVETLANA SHKOLNIKOVA,

                                 Plaintiff,                                   Civil Action No.
                                                                              18-CV-6400
                   v.
                                                                              (Brodie, J.)
  LOUIS DEJOY, POSTMASTER GENERAL,                                            (Tiscione, M.J.)

                                 Defendant.

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  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S LOCAL RULE 56.1
 STATEMENT OF UNDISPUTED FACTS & PLAINTIFF’S COUNTERSTATEMENT OF
                          UNDISPUTED FACTS

        Pursuant to Rule 56.1 of the Local Civil Rules of the United States District Courts for

 the Southern and Eastern Districts of New York, Plaintiff hereby submits this Statement of

 Material Facts of Dispute in Opposition to Defendant’s Local Rule 56.1 Statement of

 Undisputed Material Facts.

        Plaintiff has also supplied the Court with Plaintiff’s Counterstatement of Material Facts

 below as Defendant’s Rule 56.1 Statement did not address all the relevant material facts at issue

 in this Action.

       AS FOR DEFENDANT’S PURPORTED UNDISPUTED MATERIAL FACTS

 I. THE PARTIES

 A.     Plaintiff Svetlana Shkolnikova

        1. Plaintiff Svetlana Shkolnikova is a married woman born on                      , who has

 three children with her husband, Hart Nguyen. See Declaration of Paulina Stamatelos (“Stamatelos

 Decl.”), Ex. 1, Plaintiff’s Deposition Transcript (“Pl. Tr.”) at 13-14.



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                Plaintiff’s Response: Undisputed as to Plaintiff’s testimony. However, for

 purposes of clarity, it is worth noting that Defendant’s Exhibit 1 is an excerpted portion of the

 Plaintiff’s Deposition Transcript.

        2. In this action, Plaintiff asserts one claim under Title VII of the Civil Rights Act of

 1964, 42 U.S.C. § 2000e et seq. (“Title VII”). See Civil Docket for Case No. 18-cv-6400, Docket

 Entry No. 1, Complaint (“Compl.”). Plaintiff alleges that USPS violated Title VII by

 “discriminating and retaliating against [her] because of [Plaintiff’s] pregnancy and gender

 (female), as well as her request for reasonable accommodation of her pregnant condition.” Compl.

 ¶60. In her Complaint, Plaintiff alleges USPS denied her request for “a reasonable accommodation

 in the form of a short-term transfer to a job that did not require her to lift, push, and pull excessive

 weight until after she gave birth.” Compl. ¶ 42.

                Plaintiff’s Response: Disputed in part. It is undisputed that Plaintiff alleges that

 USPS violated Title VII by “discriminating and retaliating against [her] because of [Plaintiff’s]

 pregnancy and gender (female), as well as her request for reasonable accommodation of her

 pregnant condition.” Compl. ¶ 60. However, Plaintiff disputes that she exclusively requested the

 accommodation of a short-term transfer. Through her numerous requests for accommodation both

 to her direct supervisors at the USPS Homecrest Station where she worked (“Homecrest”) and to

 the USPS’s District Reasonable Accommodation Committee (“DRAC”), Plaintiff suggested

 multiple potential accommodations that would have allowed her to maintain her position as a City

 Carrier Assistant 2, such as: 1) temporary [3 month] light duty assignment; 2) assignment to a

 temporary light duty position such as an office job; 3) assignment to truck driving duty; 4) to have

 a lighter mail bag; or 5) short term leave. Cela Decl. at Ex. 3, Svetlana Shkolnikova EEO

 Investigative Affidavit (“Pl. Affidavit”) at USPS 0090.


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 B. Defendant Louis DeJoy, United States Postmaster General

          3. Defendant Louis DeJoy (“Defendant”) is the Postmaster General of the United States.

 See https://about.usps.com/who/leadership/officers/pmg-ceo.htm.

                 Plaintiff’s Response: Undisputed.

 II. BACKGROUND

 A.       Procedural Background

          4. Plaintiff’s Complaint initially raised five causes of action, but only her first claim for

 gender discrimination and retaliation under Title VII (Count I) remains. See Compl. Count I, ¶¶

 58-60.

                 Plaintiff’s Response: Undisputed.

          5. Plaintiff had asserted four other causes of action for discrimination, retaliation, and

 aiding and abetting unlawful discriminatory practices, under New York State law and the New

 York City Administrative Code, against defendants Louis DeJoy, the USPS Postmaster General,

 and Adela Livingston (“Ms. Livingston”) whom Plaintiff alleged served as her supervisor during

 her brief employment with the USPS. See Compl. Counts II-IV.

                 Plaintiff’s Response: Undisputed.

          6. By Stipulation and Order entered August 7, 2020, the Court dismissed Plaintiff’s claims

 at Count II for Discrimination and Retaliation under New York State law, and at Count IV for

 Discrimination and Retaliation under the New York City Administrative Code, with prejudiceupon

 consent of the parties. See Dkt. No. 34, Stipulation and Order.

                 Plaintiff’s Response: Undisputed.

          7. In his pre-motion conference letter filed on March 19, 2021, Defendant argued that

 Plaintiff’s Counts III and V of her Complaint, which include claims for aiding and abetting



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 unlawful discriminatory practices under New York State law and the New York City

 Administrative Code, respectively, see Compl. ¶¶ 64-66; 70-72, should be dismissed as preempted

 by Title VII because that statute provides the exclusive remedy available to federal employees for

 allegations of discrimination and retaliation. See Dkt. No. 46, Defendant’s Pre-Motion Conference

 Letter.

                    Plaintiff’s Response: Undisputed.

           8. In her March 26, 2021 response to Defendant’s request for a pre-motion conferencein

 anticipation of his motion for summary judgment, Plaintiff responded that she “agrees to dismiss

 [Counts III and V] against Defendant Livingston as preempted by Title VII.” See Dkt. No. 47,

 Plaintiff’s Response to Defendant’s Pre-Motion Conference Letter. Accordingly, the only

 cognizable claim before this Court, which Plaintiff did not dispute in her response to Defendant’s

 request for a pre-motion conference, is Plaintiff’s Count I for Defendant Louis DeJoy’s alleged

 violation of Title VII (gender discrimination and retaliation). 1

                    Plaintiff’s Response: Undisputed.

 B.        USPS Hires Plaintiff To Serve As A City Carrier Assistant 2

 i.        Plaintiff’s Application Process

           9. On or about December 12, 2015, Plaintiff’s husband Hart Nguyen completed and

 submitted Plaintiff’s online application for a CCA position with the USPS. Ex. 1, Pl. Tr. at 43; see

 Stamatelos Decl. at Ex. 2, Plaintiff’s Completed Online Application for Employment, PS Form

 2591, USPS 0389-0401. The application form requests information about an applicant’s education

 and work history, and also includes miscellaneous questions relating to, for example, an



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   In advance of Defendant’s service of its motion for summary judgment, the parties agreed to submit a proposed
 stipulation and order dismissing Adela Livingston as a defendant and dismissing Plaintiff’s Counts III and V with
 prejudice.

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 applicant’s criminal history or prior service as a U.S. veteran. At that time, Plaintiff knew she was

 pregnant with her second child.

                  Plaintiff’s Response: Disputed in part. Plaintiff disputes the characterization

 that her husband, Hart Nguyen, was solely responsible for the completion and submission of

 Plaintiff’s online application for a CCA position. Plaintiff’s husband filled out the initial

 information in the application, but Plaintiff checked the information he provided to ensure its

 accuracy prior to submission. See Cela Declaration (“Cela Decl.”) at Ex. 1, Excerpted Deposition

 of Svetlana Shkolnilova (“Pl. Tr.”) at 45-46. The nature of the questions on the application is

 undisputed. It is further undisputed that Plaintiff knew she was pregnant with her second child

 at the time of her application.

        10. Plaintiff then completed an online exam consisting of multiple questions, the substance

 of which she does not recall. Pl. Tr. at 48-49; see Stamatelos Decl. at Ex. 3, Plaintiff’s USPS

 Personnel Folder, USPS0390 (“Pl. Personnel Folder”).

                  Plaintiff’s Response: Undisputed.

        11. Plaintiff appeared for an in-person interview on January 7, 2016. Pl. Tr. at 57; 49;see

 Stamatelos Decl. at Ex. 4, Plaintiff’s Hiring Folder, USPS 0600-0608. On January 7, 2016,

 Plaintiff also signed two forms titled; (1) Your Role in Protecting the Security of the U.S. Mail;

 and (2) Outside Employment and Activities: What You Should Know About Working Outside of the

 Postal Service. Id. USPS 0607-0608.

                  Plaintiff’s Response: Undisputed.

        12. Plaintiff testified that, during her in-person interview, the USPS interviewer did not ask

 Plaintiff if she was pregnant and did not comment on her physical appearance. Pl. Tr. at. 69. After

 completion of the online form and multiple-choice examination, and the interview, Plaintiff was



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 hired to serve as a non-career City Carrier Assistant 2 (“CCA”) with the USPS. Plaintiff’s official

 date of hire was February 6, 2016. Ex. 3, Pl. Personnel Folder, USPS Notice of Personnel Action,

 Svetlana Shkolnikova, at USPS 0386.

                 Plaintiff’s Response: Undisputed.

        13. CCAs “must be physically able to efficiently perform the duties of the position withor

 without reasonable accommodation.” See Stamatelos Decl. at Ex. 5, City Carrier Assistant 2 Job

 Description, USPS 0200-0202. “CCA duties require arduous exertion involving prolonged

 standing, walking, bending and reaching, and may involve handling heavy containers of mail

 weighing up to the allowable maximum mailing weight.” Id., USPS 0202.

                 Plaintiff’s Response: Undisputed.

        14. Specifically, CCAs’ duties include: carrying mail weighing up to 35 pounds in shoulder

 satchels or other equipment; loading and unloading containers of mail weighing up to 70 pounds;

 and other tasks which require arduous exertion, involving prolonged standing, walking, bending,

 climbing, working in excessive heat, cold, humidity, dampness or chill, and handling heavy

 containers of mail. See Stamatelos Decl. at Ex. 6, USPS District Reasonable Accommodation

 Committee’s decision denying Plaintiff’s request for an accommodation dated April 14, 2016,

 (“April 14 DRAC Letter”), USPS 0312-USPS 0314; see Stamatelos Decl. at Ex. 7, USPS

 employee Adela Livingston’s deposition transcript (“Livingston Tr.”) at 27-28; see Stamatelos

 Decl. at Ex. 8; USPS’s Federal Rule of Civil Procedure 30(b)(6) witness Tenagh Bryant’s

 deposition transcript (“Bryant Tr.”) at 135-139; see Stamatelos Decl. Ex.9, Functional

 Requirements and Environmental Factors for S. Shkolnikova, USPS 0412.

                 Plaintiff’s Response: Disputed in part. According to Defendant’s own ¶ 15

 below, the duties of the CCA job include “deliver[ing] mail along a prescribed route, on foot or by


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 vehicle,” meaning that carrying a satchel up to 35 pounds is not an overarching job duty for all

 CCA employees. Cela Decl. at Ex. 2, City Carrier Assistant 2 Job Description (“CCA Job

 Description”) at USPS 0200-0202. Moreover, the CCA Job Description indicates only that

 “applicants must be physically able to efficiently perform the duties of the position with or without

 reasonable accommodation” and does not indicate a specific pound carrying limit. Id.

        Additionally, for purposes of clarity, it is worth noting that Defendant’s Exhibits 7 and 8

 are excerpted portions of Ms. Livingston’s and Ms. Bryant’s depositions, respectively.

 Furthermore, a portion of Defendant’s Exhibit 34 has been included in Exhibit 7.

        15. The essential functions of the CCA job include, but are not limited to, the following: case

 all classes of mail in sequence of delivery along an established route; withdraw mail from the

 distribution case and prepare it in sequence for efficient delivery along an established route;

 prepare and separate all classes of mail to be carried by truck to relay boxes along a route for

 subsequent delivery; handle undeliverable mail in accordance with established procedures; deliver

 mail along a prescribed route, on foot or by vehicle, on a regular schedule, picking up additional

 mail from relay boxes as needed; collect mail from street letter boxes and accept letters for mailing

 from customers; on certain routes, deliver mail that consists exclusively of parcel post. Ex. 5, USPS

 0200-0202.

                  Plaintiff’s Response: Disputed. The document referenced does not describe the

 above as the “essential functions” of the CCA job. The document cites the categories above as

 “duties and responsibilities” of a CCA. There is nothing in this document, a general job description,

 that indicates that all or even some of these job duties constitute “essential functions” of the job.

 Ex. 2. CCA Job Description.

        16. The probationary period for CCAs, like Plaintiff, is ninety calendar days from “entry



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 on duty” -- which for Plaintiff was February 6, 2016. USPS may terminate a probationary

 employee at any time during the probationary period “and these probationary employees shall not

 be permitted access to the grievance procedure.” See Stamatelos Decl. at Ex. 10, 2011-2016

 National Agreement, National Association of Letter Carriers, at USPS 0256-USPS 0281; 0262-

 0265; Ex. 4, Plaintiff’s Hiring Folder, 0603. For CCAs, like Plaintiff, the probationary period is

 90 workdays or 120 days of employment, whichever comes first. Ex. 8, Bryant Tr. at 79-84.

                 Plaintiff’s   Response:    Undisputed.     However,     Plaintiff   disputes   the

 characterization of Defendant’s Exhibit 10 as “2011-2016 National Agreement, National

 Association of Letter Carriers.” The exhibit contains five separate USPS policy documents.

        17. The purpose of a probationary period is to evaluate employees on the following factors:

 work quantity, work quality, dependability, work relations, work methods, and personal conduct.

 During this period, the employee has frequent contact with supervisors and managers, who observe

 these six factors in order to evaluate the employee’s performance and provide feedback to develop

 specific plans to enhance performance and determine whether the employee should be retained or

 rehired at the conclusion of her or his temporary appointment. Ex. 8, Bryant Tr. at 161-163.

                 Plaintiff’s Response: Undisputed.

 ii.    Plaintiff’s Employment History As a CCA With the USPS

        18. Plaintiff was assigned to the Homecrest Carrier Annex located at 2370 E 19th St,

 Brooklyn, NY 11229, Brooklyn, New York (“Homecrest Station”). Pl. Tr. at 57; Ex. 4, Hiring

 Folder, USPS 0610.

                 Plaintiff’s Response: Undisputed.

        19. Plaintiff’s base salary was $16.06 an hour. Ex 3, Pl. Personnel File, USPS 0402.

                 Plaintiff’s Response: Undisputed.



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         20. On February 8, 2016, Plaintiff commenced the training program for new USPS

 employees. Pl. Tr. at 61-62; Ex. 4, Plaintiff’s Hiring Folder, USPS 0610.

                  Plaintiff’s Response: Undisputed.

         21. From February 11 to February 12, 2016, Plaintiff attended the Carrier Academy which

 provided Plaintiff with an overview of the duties and responsibilities of a CCA, including learning

 how to scan mail and deliver it safely. Ex. 6, April, 2016 DRAC Letter; see Stamatelos Decl. at

 Ex. 10, Plaintiff’s Individual Training Progress Report, USPS 0345.

                  Plaintiff’s Response: Undisputed. However, Plaintiff disputes that Defendant’s

 Exhibit 10 contains Plaintiff’s Individual Training Progress Report.

         22. During her deposition, Plaintiff could not recall any of the specific details of her

 training but recalled that USPS representatives explained “how to deliver the mail, like what to

 do, what not to do.” Pl. Tr. at 64:15-18.

                  Plaintiff’s Response: Undisputed.

         23. Plaintiff began her employment at Homecrest Station as a CCA on February 16, 2016.

 Pl. Tr. at 69. Plaintiff entered Homecrest Station “through the back” and could not recall if the

 building was comprised of one or two floors. Pl. Tr. at 71.

                 Plaintiff’s Response: Disputed in part. It is undisputed that Plaintiff began her

 employment as a CCA at Homecrest Station on February 16, 2016. It is undisputed that Plaintiff

 entered Homecrest through the back, as she was instructed to do. Ex.1, Pl. Tr. at 71. Plaintiff

 disputes that she could not recall if the building was comprised of one or two floors. After initially

 indicating that the facility was one floor, Plaintiff corrected herself and stated that she recalled the

 facility was two floors because the first floor was for packages and the second floor was for mail.

 Id at 71,145.


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        24. By February 16, 2016, Plaintiff was approximately twenty-five weeks pregnant. See

 Stamatelos Decl. at Ex. 11, Plaintiff’s ACOG Report by Saul Stromer, M.D. (“ACOG Report”).

                Plaintiff’s Response: Undisputed. However, Plaintiff disputes that Defendant’s

 Exhibit 11 contains Plaintiff’s ACOG Report by Saul Stromer, M.D.

        25. On February 16, 2016, Plaintiff first met with Steven Smerling, her supervisor. See

 Stamatelos Decl. at Ex. 11, Plaintiff’s ACOG Report by Saul Stromer, M.D. (“ACOG Report”).

                Plaintiff’s Response: Undisputed. However, Plaintiff disputes that Defendant’s

 Exhibit 11 contains Plaintiff’s ACOG Report by Saul Stromer, M.D or any record of Plaintiff

 meeting with Steven Smerling on February 16, 2016.

        26. On February 16, 2016, Plaintiff also met with Adela Livingston to review the duties

 and responsibilities of a CCA. Ex. 7, Livingston Tr. at 38; Ex. 1, Pl. Tr. at 74-75. Ms. Livingston

 currently serves as the Postmaster General for Staten Island, New York. Ex. 7, Livingston Tr. at

 10. At the time of Plaintiff’s employment with the USPS, Ms. Livingston served as Area Manager

 for Customer Service covering nine USPS locations in Brooklyn, New York. Id. at 11. In that

 capacity, Ms. Livingston supervised and assisted the station managers at those facilities to perform

 the USPS’s functions. Id. at 15-17.

                Plaintiff’s Response: Disputed in part. It is undisputed that Plaintiff met with

 Adela Livingston on February 16, 2016. Plaintiff disputes that she discussed the “duties and

 responsibilities of a CCA” with Ms. Livingston on February 16, 2016. Plaintiff recalls that Ms.

 Livingston only gave Plaintiff the address of the location where Plaintiff was to have her three-

 day training and asked Plaintiff directly if she was pregnant. Pl. Tr. at 75. Ms. Livingston’s job

 title at the time of Plaintiff’s employment and the description of Ms. Livingston’s job duties are

 undisputed.



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        27. On February 16, 2016, Plaintiff did not deliver any mail. Ex. 1, Pl. Tr. at 81-82.

                Plaintiff’s Response: Undisputed.

        28. On February 17, 2016, Plaintiff reported to Bay Station for three days of on-the-job

 training. Ex., Pl. Tr. at 78. On that day she accompanied another CCA for an approximately eight-

 hour shift to deliver mail. Pl. Tr. at 82; Ex. 6, April 2016 DRAC Letter; Ex. 7, Livingston Dep. Tr.

 at 37-28.

                Plaintiff’s Response: Undisputed.

        29. On February 18, 2016, Plaintiff again accompanied another CCA for an approximately

 eight-hour shift to deliver mail. Ex. 1, Pl. Tr. at 83; Ex. 6, April 2016 DRAC Letter. She reported

 to Bay Station again and worked between 8:00 a.m. and 4:30-5:00p.m. Pl. Tr. at 79.; Ex. 6, April

 2016 DRAC Letter.

                  Plaintiff’s Response: Undisputed.

        30. On February 19, 2016, Plaintiff completed her on-the-job training at Bay Station, in

 Brooklyn, New York. Ex. 11, USPS 0346.

                Plaintiff’s Response: Disputed. Despite completing this particular training session

 at Bay Station on February 19, 2016, on March 16, 2016, Plaintiff was told by manager Timothy

 Lawson to report for re-training at the Midwood Station from March 17-19, 2016. Ex. 3, Pl.

 Affidavit at USPS 0087. Plaintiff recalls that Mr. Lawson told her that the re-training was at the

 request of Ms. Livingston. See Id.

 C.     Plaintiff Requests “Restrictive Duty, Very Light Work” After Completing Two
        Routes With the USPS

        31. Immediately following her on-the-job training at Bay Station, Plaintiff requested that

 she be placed on “restrictive duty, very light work.” Specifically, on February 18, 2016,

 Plaintiff had visited her obstetrician-gynecologist, Saul Stromer, M.D. Pl. Tr. at 77; Ex. 12, ACOG

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 Report. On February 18, 2016, Dr. Stromer completed a letter (“February 18, 2016 Stromer Letter”)

 stating “To Whom It May Concern: Please be informed that my patient, Mrs. Svetlana Shkolnikova

 is currently pregnant and her expected date of delivery is 5/31/2016. I have advised her to be

 placed on restricted duty, very light work.” Pl. Tr. at 84; see Stamatelos Decl. at Ex. 13, February

 18, 2016 Stromer Letter, USPS 0410.

                Plaintiff’s Response: Undisputed.

         32. Plaintiff claims Dr. Stromer advised her to be placed on “restricted duty, very light

 work” because during Plaintiff’s previous (first) pregnancy she experienced                      and

 “nearly died.” Pl. Tr. at 85.

                Plaintiff’s Response: Undisputed.

         33. Plaintiff stated that during her appointment on February 18, 2016, Dr. Stromer told her

 to “take it easy” but did not explain to her what he meant by “restricted duty, very light work.” Pl.

 Tr. at 87.

                Plaintiff’s Response: Undisputed.

         34. On February 20, 2016, Plaintiff reported to Homecrest Station and was assigned a route

 without another CCA. Pl. Tr. at 95.

                Plaintiff’s Response: Undisputed.

         35. On February 22, 2016, Plaintiff returned to Homecrest Station and was assigned a route

 to complete on her own. Pl. Tr. at 88; 97.

                Plaintiff’s Response: Undisputed.

         36. On February 22, 2016, Plaintiff did not provide Mr. Smerling with a copy of the

 February 18, 2016 Stromer Letter but instead gave it to Ms. Livingston who informed Plaintiff that

 the February 18, 2016 Stromer Letter was vague since it included no description of what job duties



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 Plaintiff was able to perform given her pregnancy. Ex. 7, Livingston Tr. at 42, 43; see Stamatelos

 Decl. at Ex. 14, Adela Livingston EEO Investigative Affidavit (Witness), dated August 8, 2016,

 at USPS 0115 (“Livingston EEO Affidavit”).

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that she gave

 the February 18, 2016 Stromer Letter to Ms. Livingston on February 22, 2016. Plaintiff does not

 dispute that the February 18, 2016 Stromer Letter did not cite specific job duties Plaintiff could

 and could not do. However, Plaintiff disputes that the letter was insufficient to begin the

 interactive process by which USPS could determine with Plaintiff whether her temporary

 pregnancy-related condition could be accommodated. Ms. Livingston testified that she understood

 this February 18, 2016 letter to be a request for light duty. Cela Decl. at Ex. 4, Excerpted

 Deposition of Adela Livingston (“Livingston Tr.”) at 41-42. USPS’s Reasonable Accommodation

 Handbook indicates that any employee who receives a reasonable accommodation request “must

 process the request promptly” and must engage in “informal dialogue with the individual seeking

 accommodation” to determine together what the requesting employee’s needs are and what kinds

 of accommodations may be available. Cela Decl. at Ex. 5, USPS Handbook EL-307, “Reasonable

 Accommodation, an Interactive Process” (“Reasonable Accommodation Handbook”) at USPS

 0290-0294.

        37. On February 23, 2016, Ms. Livingston reached out to USPS human resources

 employees regarding Plaintiff’s request for restricted, light duty. Ex. 7, Livingston Tr. at 79-80.

                Plaintiff’s Response: Disputed in part. It is undisputed that Ms. Livingston

 reached out to USPS employees regarding Plaintiff’s request for restricted, light duty. Plaintiff

 disputes that the email was only sent to “human resources employees.” The email was also sent

 to Anthony Impronto, who was a Postmaster in Brooklyn at the relevant time, and Te’Nagh Bryant,



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 who was the Manager of Labor Relations and the Chairperson for the District Reasonable

 Accommodation Committee at the relevant time. Cela Decl. at Ex. 6, Excerpted Deposition of

 Te’Nagh Bryant (“Bryant Tr.”) at 19, 23; Ex. 7, February 23, 2016 Email from Adela Livingston

 to Antony Impronto, Matthew Doxsey, Te’Nagh Bryant, and David Rudy (“February 23 Email”).

        38. On February 24, 2016, Dr. Stromer provided Plaintiff with another letter stating that

 Plaintiff could “only lift up to 10 pounds and only push and pull up to 30” and “can only do limited

 stairs usage and limited bending.” See Stamatelos Decl. at Ex. 15, Saul Stromer, M.D. letter, dated

 February 24, 2016, USPS 0408 (“February 24, 2016 Stromer Letter”). The February 24, 2016

 Stromer Letter also insufficiently described Plaintiff’s limitations. Ex. 7, Livingston Tr. at 45.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this is the

 content of the February 24, 2016 letter. Plaintiff does not dispute that Ms. Livingston said this

 letter was not specific enough. Livingston Tr. at 45. Plaintiff disputes, for the same reasons

 contained herein as her response supra to ¶ 36, that this letter insufficiently described Plaintiff’s

 limitations for the purpose of beginning the interactive reasonable accommodation process.

        39. Plaintiff testified that Dr. Stromer drafted the February 24, 2016 Stromer Letter because

 Plaintiff’s “boss” was “looking for a specific amount of weight that I can lift or push or pull, what

 can I do or cannot do.” Ex. 1, Pl. Tr. at 99.

                Plaintiff’s Response: Undisputed.

        40. Dr. Stromer did not give Plaintiff any instructions on what “limited stairs usage and

 limited bending” specifically meant. Ex. 1, Pl. Tr. at 100; Ex. 7, Livingston Dep. Tr. at 61.

                Plaintiff’s Response: Undisputed.

        41. The February 24, 2016 Stromer Letter did not discuss any limitations on Plaintiff’s

 ability to walk for extended periods of time. Ex. 1, Pl. Tr. at 101; Ex. 15, February 24, 2016



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 Stromer Letter.

                 Plaintiff’s Response: Undisputed.

         42. Dr. Stromer drafted a second letter on February 24, 2016 which provided that Plaintiff’s

 work duties should be modified and that she could “only lift up to ten pounds and no using stairs.”

 See Stamatelos Decl. at Ex. 16, February 24, 2016 Saul Stromer Letter, M.D. (“Second February

 24 Stromer Letter”), USPS 0409. The Second February 24 Stromer Letter also was vague; it did

 not discuss Plaintiff’s limitations with respect to walking and, in general, insufficiently described

 her limitations. Ex. 1, Pl. Tr. at 104; Ex. 7, Livingston Dep. Tr. at 65.

                 Plaintiff’s Response: Disputed in part. Plaintiff does not dispute the contents of

 the Second February 24 Stromer Letter. Plaintff disputes that she testified that this letter was vague

 or that it “insufficiently described her limitations.” Ex.1, Pl. Tr. at 104. Plaintiff also disputes that

 Ms. Livingston testified that the note “insufficiently described her limitations,” as Ms. Livingston

 stated with respect to this note “that is not within the scope of my position to determine whether

 or not it was sufficient.” Ex.4, Livingston Tr. at 65.

         43. Plaintiff does not recall if she gave the Second February 24 Stromer Letter to any USPS

 employee. Pl. Tr. at 105.

                 Plaintiff’s Response: Disputed. Plaintiff recalls that she may have shown this

 letter to Ms. Livingston. Ex. 1, Pl. Tr. at 105.

         44. Ms. Livingston provided Plaintiff with a template letter dated February 29, 2016 and

 addressed “To Whom It May Concern” (“February 29, 2016 Template Letter”) listing the basic

 requirements of a CCA because Plaintiff had previously submitted documentation that did not

 provide specific information as to Plaintiff’s limitations despite Ms. Livingston’s having explained

 to her “numerous times” what information Plaintiff’s physician needed to supply regarding



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 Plaintiff’s limitations due to her pregnancy. See Stamatelos Decl. at Ex. 17, February 29, 2016

 Template Letter; Ex. 7, Livingston Dep. Tr. at 67.

                 Plaintiff’s Response: Disputed in part. It is undisputed that Ms. Livingston

 provided Plaintiff with the February 29, 2016 Template Letter. It is disputed that Ms. Livingston

 explained to Plaintiff “numerous times” the nature of the information she felt was required for

 Defendant to accept the letter. In fact, Ms. Livingston herself testified that it was “not within the

 scope of [her] position” to determine whether or not the letters from Plaintiff’s doctors were

 sufficient and that she only described what she believed to be the job’s requirements to Plaintiff

 so that “she could do as she chose with it.” Ex. 4, Livingston Tr. at 46, 65.

         45. In the February 29, 2016 Template Letter, Ms. Livingston listed the basic requirements

 of the duties a CCA needs to perform for up to 8-12 hours six to seven days a week. The purpose

 of the February 29, 2016 Template Letter was for Dr. Stromer to indicate what Plaintiff could do

 and to provide the specific limitations as to the following activities based on Plaintiff’s pregnancy:

 (i) lifting up to 70 lbs.; (ii) sitting; (iii) standing; (iv) walking; (v) climbing; (vi) kneeling; (vii)

 bending; (viii) stooping; (ix) twisting; (x) pulling; (xi) pushing; (xii) driving a 2-ton postal truck

 (including climbing in/out to deliver parcels throughout a given time-frame/day). Ex. 7, Livingston

 Dep. Tr. at 67; Ex. 17, February 29, 2016 Template Letter.

                 Plaintiff’s Response: Undisputed.

         46. Dr. Stromer helped complete another letter, this time on February 29, 2016. See

 Stamatelos Decl. at Ex. 18, February 29, 2016 Stromer Letter Response, USPS 0100. Ms.

 Livingston had previously “typed up” this letter in Plaintiff’s presence and Dr. Stromer later

 completed it by adding handwritten notes to it. Ex. 1, Pl. Tr. at 107; Ex.7, Livingston Tr. at 67.

                 Plaintiff’s Response: Undisputed.



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        47. Dr. Stromer’s notations indicated that Plaintiff could only: lift ten pounds; walk upto

 two hours (but did not indicate if she could walk up to two hours continuously); climb one flight

 of stairs; push and pull up to ten pounds; and drive a Postal Truck. Ex.18, February 29, 2016

 Stromer Letter Response. Dr. Stromer indicated Plaintiff could not twist at all, and, although he

 placed check marks next to the following categories of activities—sit, stand, kneel, bend or

 stoop— he did not indicate the duration Plaintiff would be able to perform those duties in a

 working day. Ex. 7, Livingston Tr. at 69-70; Ex. 18, February 29, 2016 Stromer Letter Response.

                Plaintiff’s Response: Disputed. Since the introductory paragraph in the letter

 indicates that Plaintiff would need to do the activities described therein for up to 8-12 hours and

 Dr. Stromer indicated on the “walking” category that Plaintiff was able to walk for up to two hours,

 the check marks within the letter that do not contain any additional notes can reasonably be read

 to state that Plaintiff is capable of sitting, standing, kneeling, bending, stooping, pushing and

 pulling up to 10 pounds, and driving a 2-ton postal truck for up to 8-12 hours. Cela Decl. at Ex. 8,

 Dr. Stromer February 29, 2016 Note (“February 29 Note”).

        48. Following her receipt of the February 29, 2016 Stromer Letter Response, Ms.

 Livingston again explained to Plaintiff that her doctor’s notes were not specific enough with

 respect to describing Plaintiff’s limitations during a workday. Ex. 7, Livingston Tr. at 70-71.

 Plaintiff’s failure to have her physician detail Plaintiff’s specific limitations as to working as a

 CCA during a full-day’s route delayed USPS’s efforts to consider Plaintiff’s request for light duty.

 Ex. 7, Livingston Tr. at 72.

                Plaintiff’s Response: Disputed in part. It is undisputed that Ms. Livingston did

 not accept the February 29 Note. Plaintiff disputes that the February 29 Note was not specific

 enough and that Plaintiff failed to provide the USPS with sufficient information to consider



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 Plaintiff’s request for reasonable accommodation. See supra, Plaintiff’s response to ¶ 47.

         49. Plaintiff then provided USPS with a letter dated March 7, 2016, which was prepared

 by Plaintiff’s primary doctor’s (not Dr. Stromer) physician assistant (“PA”) Semyon Elyash, USPS

 0101. Pl. Tr. 110-111; See Stamatelos Decl. at Ex. 19, March 7, 2016 Letter by PA Semyon Elyash

 (“Plaintiff’s March 7, 2016 Letter”). Plaintiff’s primary care doctor, Dr. Fayngerish, did not

 examine her prior to PA Elyash drafting the March 7, 2016 Letter. Id. These medical providers are

 not Plaintiff’s obstetrician and gynecologist, and instead practice at Ocean Medical Diagnostics,

 P.C., in Brooklyn, New York. Id.

                Plaintiff’s Response: Disputed in part. It is undisputed that Semyon Elyash was

 a physician’s assistant at Plaintiff’s primary care doctor’s office who drafted the letter, which was

 then signed by Dr. Fayngersh. Plaintiff disputes this paragraph as incomplete, as Semyon Elyash

 examined Plaintiff for approximately 20-30 minutes prior to typing the letter on her behalf. See Pl.

 Tr. at 111. Further, Plaintiff went to her primary care doctor for additional examination to receive

 another reasonable accommodation letter at the direction of Dr. Stormer. See Ex.1, Pl. Tr. at 110-

 11.

         50. Plaintiff’s March 7, 2016 Letter included the categories in the February 29, 2016 Letter.

 Plaintiff’s March 7, 2016 Letter, USPS 0101. With respect to sitting, standing, kneeling, bending,

 and stooping, Plaintiff could perform these tasks in a “continuous” manner between “8 hrs. to 12

 hrs.” Id.

                Plaintiff’s Response: Undisputed.

         51. Ms. Livingston received Plaintiff’s March 7, 2016 Letter from another USPS

 employee, not from Plaintiff directly. Ex. 7, Livingston Tr. at 76-77. Ms. Livingston submitted the

 March 7, 2016 Letter to the manager of USPS human resources, David Rudy. Id. at 77.



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                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that she had to

 give the March 7, 2016 Letter to another employee as she could not reach Ms. Livingston despite

 repeated attempts to find her. Ex.1, Pl. Tr. at 114. Plaintiff disputes that Ms. Livingston submitted

 the letter to David Rudy. The record indicates that Ms. Livingston emailed Postmaster Anthony

 Impronto regarding Plaintiff’s March 7, 2016 letter on March 17, 2016. Mr. Impronto then

 forwarded Ms. Livingston’s email to Mr. Rudy and asked for Plaintiff’s requests to be sent to the

 DRAC. Cela Decl. at Ex. 9, March 17, 2016 Email Chain between Adela Livingston, Anthony

 Impronto, David Rudy, and Te’Nagh Bryant (“March 17 Emails”).

        52. Ms. Livingston construed Plaintiff’s requests, as described by the medical

 documentation she provided, as a request for a reasonable accommodation. Ms. Livingston

 communicated with Plaintiff regarding her limitations, requested and obtained documentation

 from Plaintiff relating to her limitations, and notified USPS’s human resources department,

 including the District Reasonable Accommodation Committee (“DRAC”) of Plaintiff’s request

 and limitations. Ex. 7, Livingston Tr. at 19; 22-23; Ex. 14, Livingston EEO Aff., USPS 0123.

                Plaintiff’s Response: Disputed in part. Plaintiff disputes that Ms. Livingston

 requested documentation from Plaintiff regarding her limitations. Ms. Livingston testified that she

 did not at any time request documentation from Plaintiff relating to her limitations. Ex. 4,

 Livingston Tr. at 46. Ms. Livingston described her communication with Plaintiff regarding her

 limitations as describing the physical requirements of the CCA job to Plaintiff “so that she could

 do as she chose with it.” Id. Plaintiff does not dispute that Ms. Livingston notified USPS’s human

 resources department and the DRAC of Plaintiff’s request.

        53. Plaintiff was not assigned any routes after she began presenting the letters from Dr.

 Stromer and PA Elyash to USPS. Ex. 7, Livingston Tr. at 122-125. Ms. Livingston explained that



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 given Plaintiff’s physical limitations, there was no work assignments that Plaintiff could perform

 and Ms. Livingston expressed a concern for any potential consequences to Plaintiff’s health should

 she be placed on the schedule and suffer injuries as a result of her physical limitations. Id.; Ex. 14,

 Livingston EEO Aff., USPS 0123.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that she was

 not assigned any routes after she began presenting the letters from Dr. Stromer and PA Elyash to

 USPS. Plaintiff disputes that her exclusion from the work schedule was due to any genuine

 concern over Plaintiff’s physical condition or any desire to reasonably accommodate Plaintiff’s

 temporary pregnancy-related condition. Despite allegedly expressing concern for Plaintiff’s health

 since she was presented with the very first Dr. Stormer letter on February 22, 2016, Ms. Livingston

 contends she was entirely uninvolved in the decisions to keep or remove Plaintiff from the

 Homecrest schedule until February 29, 2016. Cela Decl. at Ex. 10, Adela Livingston EEO

 Investigative Affidavit (“Livingston Affidavit”) at USPS 0115. Interestingly, Plaintiff’s direct

 supervisor, Mr. Smerling, also denies any responsibility for the decisions to send Plaintiff home

 between February 23, 2016 and February 29, 2016 and maintains that Ms. Livingston instructed

 him to send Plaintiff home on February 23. Cela Decl. at Ex. 11, Steven Smerling EEO

 Investigative Affidavit (“Smerling Affidavit”) at USPS 0134, USPS 0136, USPS 0137. At the

 same time, Ms. Livingston testified that she, in fact, instructed Mr. Smerling to allow Plaintiff to

 work for “minimum, a minimum of an hour” on February 22, 2016 after receiving the first

 reasonable accommodation letter from Plaintiff, so Mr. Smerling could assess Plaintiff’s

 proficiency in the tasks she had learned through training. Ex.4, Livingston Tr. at 43-44.

        54. Plaintiff testified during her deposition that she viewed USPS taking “away her hours”

 because of her “doctor’s notes” as discrimination. Ex 1, Pl. Tr. at 116.



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                Plaintiff’s Response: Undisputed.

 D.      Plaintiff Files an Informal Complaint on March 10, 2016 Requesting to Be
         Transferred to Another USPS Station

         55. On March 10, 2016, Plaintiff filed an Information for Pre-Complaint Counseling,

 asking for a reasonable accommodation, specifically: “To be given work hours and only

 accommodate me on the limitations my doctor advised in concerns [sic] of my pregnancy” and

 “also to transfer me to another station or district that doesn’t have any issues handling me.” See

 Stamatelos Decl., at Ex. 20, March 10, 2016 Information for Pre-Complaint Counseling, USPS

 0036-0037 (“Plaintiff’s March 2016 Informal Complaint”); Pl. Tr. at 117. Plaintiff complained

 that she had “not been given any work hours” after presenting Dr. Stromer’s letters to Ms.

 Livingston.

                Plaintiff’s Response: Undisputed.

         56. On March 22, 2016, USPS referred Plaintiff’s request for an accommodation of her

 pregnancy to the DRAC to conduct a DRAC meeting. See Stamatelos Decl. Ex. 21, March 22,

 2016 email from Ms. Bryant to USPS personnel, USPS 0917; Ex. 22, USPS March 22, 2016 Letter

 to Plaintiff from the District Reasonable Accommodation Committee (“DRAC”), USPS 0403-

 0404.

                Plaintiff’s Response: Undisputed.

 E.      The USPS Reasonable Accommodation Process

         57. Handbook EL-307, Reasonable Accommodation, An Interactive Process (“Reasonable

 Accommodation Handbook”), provides managers and supervisors with procedures,guidance, and

 instructions on matters of reasonable accommodation that involve applicants and employees with

 disabilities. See Stamatelos Decl. Ex. 23, USPS Handbook EL-307, Reasonable Accommodation,

 An Interactive Process (“Reasonable Accommodation Handbook”), USPS 0282-USPS 0303.

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                Plaintiff’s Response: Undisputed. However, Plaintiff disputes Defendant’s

 characterization of Defendant’s Exhibit 23 as the Reasonable Accommodation Handbook. The

 exhibit contains three separate USPS documents including the above-referenced handbook.

        58. The goal of reasonable accommodation is to enable qualified individuals with

 disabilities to perform the essential functions of the job and enjoy equal benefits and privileges of

 employment as employees without disabilities enjoy. Ex. 23, Reasonable Accommodation

 Handbook, USPS 0286.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this is the

 USPS Reasonable Accommodation Handbook’s stated goal. Plaintiff disputes that this statement

 accurately represents the entire purpose of the reasonable accommodation process. Both Ms.

 Livingston and Ms. Bryant have acknowledged that short term leave could be a potential

 accommodation. Ex. 7, February 23 Email; Ex. 6, Bryant Tr. at 159, 161.

        59. When the reasonable accommodation process is activated, USPS goes through the

 following five-step process to determine whether to provide an accommodation to the employee:

 (1) determine whether an individual has a disability; (2) determine the essential functions of the

 job; (3) identify the abilities and limitations of the individual; (4) identify potential

 accommodations; and (5) determine the reasonableness of the accommodations and select options.

 Ex. 23, Reasonable Accommodation Handbook, USPS 0290-0297.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the USPS

 Reasonable Accommodation Handbook outlines these steps for its reasonable accommodation

 process, but disputes that this is the procedure that was followed when USPS managerial

 employees interacted with her request, especially with respect to identifying potential

 accommodations and determining the reasonableness of those accommodations. Despite Ms.



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 Livingston identifying short-term leave as a potential option in her February 23 Email and Plaintiff

 requesting short-term leave through the DRAC proceeding, in making its decision, the DRAC

 failed to even acknowledge short-term leave as a potential reasonable accommodation. Ex. 7,

 February 23 Email; Ex. 3, Pl. Affidavit at 0090; Cela Decl. at Ex. 12, April 14, 2016 DRAC

 Decision Letter (“DRAC Decision”). Ms. Bryant, Chair of the DRAC, also acknowledged in

 testimony that short-term, unpaid leave, was a viable accommodation option under the law and

 that Plaintiff was already on short-term, unpaid leave due to the ongoing DRAC and EEO

 processes. Ex. 6, Bryant Tr. at 159-60.

        60. Each area and district is required to have a Reasonable Accommodation Committee

 (“RAC” or “DRAC”). The district RACs are frequently referred to as DRACs. The RAC or DRAC

 holds an interactive meeting with the employee, preferably in person, or by telephone, to discuss

 the accommodation request. Before the meeting, the DRAC must obtain medical documentation

 from the employee. Ex. 23, Reasonable Accommodation Handbook, USPS 0296.

                Plaintiff’s Response: Undisputed.

        61. The DRAC meets with the individual to: (a) review medical information; (b) discuss

 and evaluate limitations to major life activities; (c) discuss essential functions of the position in

 question and explore whether and how the individual can perform those functions without posing

 a direct threat to themselves or others; and (d) elicit input regarding potential accommodations,

 including alternatives such as reassignment (where necessary and available andappropriate). Ex.

 23, Reasonable Accommodation Handbook, USPS 0296.

                Plaintiff’s Response: Undisputed.

        62. A requested accommodation is not considered/deemed reasonable when it would entail

 any of the following: (i) elimination of legitimate selection criteria; (ii) lowering standards of



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 performance; (iii) creation of a job where none exists; (iv) violating the seniority provisions of a

 collective bargaining agreement, reallocating or eliminating essential job functions, or otherwise

 substantially changing the fundamental nature of the job. Id. USPS 0286-0287.

                  Plaintiff’s Response: Undisputed.

        63. Specifically, the Reasonable Accommodation Handbook advises USPS employees that,

 consistent with the law, USPS is not required “to change or alter the essential functions of a job”

 and USPS if also “not required to reallocate the essential functions of the job to another

 individual.” Id., USPS 0295.

                Plaintiff’s Response: Undisputed.

        64. Once a determination is made that there is no reasonable accommodation that would

 enable the employee to perform the essential functions of her job, and that no equivalent, vacant

 position exists, the employee would remain off the work schedule and would not be paid.

                Plaintiff’s Response: Plaintiff is unable to respond, as the statement does not

 reference the record.

 F.     The USPS District Reasonable Accommodation Committee Denies Plaintiff’s Request
        for a Reasonable Accommodation

        65. On March 28, 2016, the DRAC interactive process meeting took place (“DRAC

 Interactive Meeting”). In addition to the Chairperson for the DRAC, Tenagh Bryant, the following

 USPS employees were present: Pamela Harris, A/HR Generalist Principal; Irene Fanelli, A/District

 Manager Safety; Matt Doxsey, Manager Health and Resource management; Joy Zerna,

 Occupational Health Nurse Administrator; Jeannette Brooks, Manager, Learning Diversity &

 Development; Adela Livingston, Manager Customer Service Operations; USPS attorney Donald

 Spector; and Ewin Sanchez, Disability Compliance Specialist. Ex. 6, April 2016 DRAC Letter,

 USPS 0312-USPS 0314.

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                Plaintiff’s Response: Undisputed.

        66. Ms. Bryant testified that not all pregnant employees request light duty or reasonable

 accommodations. In other words, pregnancy is not considered a “disability” and does not mean

 that a USPS employee will have a mental or physical impairment that will prevent that employee

 from being able to perform the core essential functions of their employment with USPS. Ex. 8.

 Bryant Tr. at 38-39.

                Plaintiff’s Response: Undisputed. However, Plaintiff disputes the relevancy of

 this statement as it does not apply to her, since she was an employee who was pregnant and

 requested reasonable accommodation due to her temporary pregnancy-related condition on

 multiple occasions. See Plaintiff’s Counterstatement (“Counterstatement”) at ¶¶ 32, 47-48, 51, 60.

        67. Plaintiff appeared at the DRAC Interactive Meeting, represented by her attorney, David

 Schwartz, of Phillips & Associates, PLLC. During the DRAC Interactive Meeting, Plaintiff

 presented the letters from Dr. Stromer and PA Elyash. See Stamatelos Decl. at Ex. 24, USPS

 DRAC Committee Information Evaluation Form, USPS 0424-0435. The March 7, 2016 Letter

 listed her limitations in the following physical requirements of her job: lifting only up to 10 lbs.;

 walking up to 2 hours; climbing only one flight of stairs; no twisting; pulling up to 10 lbs.; pushing

 up to 10 lbs.; and driving a 2-ton Postal truck. Ex. 6, April 2016 DRAC Letter.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that she

 appeared at the DRAC meeting with her attorney, David Schwartz, of Phillips & Associates PLLC.

 Plaintiff does not dispute that she presented the letters from Dr. Stromer and PA Elyash at the

 meeting. Plaintiff disputes the characterization of some of the limitations contained in the March

 7, 2016 letter. The letter states that Plaintiff could not walk for more than two continuous hours

 and could only walk up one flight of stairs when the stairs are in a building. Cela Decl. at Ex. 13,



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 March 7, 2016 Dr. Fayngersh and Semyon Elyash Note (“March 7 Note”). The only activity that

 was completely barred by Plaintiff’s doctors was twisting. Id.

        68. The reasonable accommodation Essential Functions Review Worksheet, Part B, Job

 Duties, has boxes across the top in which to list the five main functional requirements to perform

 the duties in the standard position description. Items a-i in the left column ask specific questions

 about the duties of the job. Manager Livingston completed the responses in Worksheet Part 1 and

 listed the following functional requirements of the CCA job and the percentage of time spent

 performing that duty in the job: (1) Walking and climbing stairs (90%); (2) Lifting/Carrying up to

 70 lbs. (40%); (3) Extended standing/walking (96%); (4) Casing mail/fine manipulation (35%);

 and (5) Bending/Pulling/Stooping/Pushing/Twisting (45%). See Stamatelos Decl. at Ex. 25, Adela

 Livingston Responses on Essential Functions Review Worksheet, USPS 0342-USPS 0343.

                Plaintiff’s Response: Undisputed

        69. Part 2 of the Essential Functions Review Worksheet lists Functional Requirements and

 Environmental Factors of various Postal Service jobs. The Functional Requirements of the CCA

 job are checked off in the left column of the worksheet and include, but are not limited to: lifting

 up to 70 lbs.; carrying 45 lbs. and over; straight pulling; walking 5-7 hours; standing 8-12 hours;

 repeated bending 5-7 hours; and climbing 5-7 hours. The Environmental Factors of the CCA job

 include, but are not limited to: working outside and inside, in excessive heat and cold, in excessive

 humidity, on slippery or uneven walking surfaces, and working alone. Id.

                Plaintiff’s Response: Undisputed.

        70. At the DRAC interactive meeting, the accommodations requested by Plaintiff were that

 USPS move the relay boxes or lighten the load Plaintiff would have to deliver by splitting the

 mail into two parts. Ex. 6, April 2016 DRAC Letter; Ex. 24, USPS DRAC Committee Information



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 Evaluation Form, USPS 0424-0435. DRAC determined that it was not possible for USPS to

 relocate relay boxes on a daily basis depending on the route to which Plaintiff would be assigned

 as such an accommodation would be an unreasonable fundamental alteration of the nature or

 operation of USPS’s business and an undue hardship. Id. DRAC also determined that “the

 combination of mail and parcels that [Plaintiff would] deliver on [her] route each day will exceed

 [Plaintiff’s] lifting restrictions.” Ex. 6, April 2016 DRAC Letter, USPS 0313.

                Plaintiff’s Response: Disputed in part. In addition to the accommodations cited

 above, Plaintiff requested multiple potential accommodations that the DRAC failed to address,

 including: 1) temporary [3 month] Light Duty position; 2) assignment to a temporary light duty

 position such as an office job; 3) assignment to truck driving duty; 4) to have a lighter mail bag;

 or 5) short term leave. Ex. 3, Pl. Affidavit at USPS 0090. Moreover, the option of short-term leave

 was brought up independently by Ms. Livingston to Ms. Bryant, Anthony Impronto, Matthew

 Doxsey, and David Rudy in an email from February 23, 2016. Ex. 7, February 23 Email. Further,

 Ms. Bryant, who was Chair of the DRAC committee, acknowledged in testimony that short-term

 leave was a viable accommodation option under the law and that Plaintiff was already on short-

 term unpaid leave throughout the entirety of the DRAC process. Ex.6, Bryant Tr. at 159-60.

        71. At no point during or prior to the DRAC Interactive Meeting did Plaintiff request that

 DRAC consider offering her an unpaid or short-term leave of absence. Id.

                Plaintiff’s Response: Disputed. Plaintiff requested that the DRAC consider,

 among other potential accommodations, granting Plaintiff short-term leave at the DRAC

 Interactive Meeting. Ex.3, Pl. Affidavit at USPS 0090.

        72. The purpose of the DRAC Interactive Meeting was to determine whether Plaintiff was

 a qualified individual with a disability who has a condition that would warrant a reasonable



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 accommodation and to determine whether a modification can be made to her position that would

 allow her to perform the essential functions of the position. Ex. 6, April 2016 DRAC Letter.

                Plaintiff’s Response: Undisputed.

        73. During the DRAC Interactive Meeting, Plaintiff confirmed that she was unable to

 perform the essential functions of the job. Ex. 6; April 2016 DRAC Decision. Based on her medical

 restrictions, the DRAC concluded that the USPS was not able to provide any accommodation that

 would enable Plaintiff to perform the essential functions of a CCA. In addition,there is no quasi-

 sedentary work available at her grade and pay or at a lower level. Id. The DRAC concluded that

 USPS was not required to eliminate the essential functions of a CCA position and create a job for

 the Plaintiff that did not exist within the Postal Service. See Stamatelos Decl. at Ex. 26, Tenagh

 Bryant EEO Investigative Affidavit (Witness), dated August 1, 2016, USPS 0162-0181.

                Plaintiff’s Response: Disputed in part. It is undisputed that this is what the

 DRAC stated in its April 2016 letter. Plaintiff disputes the allegation above that she at any time

 during the DRAC meeting “confirmed that she was unable to perform the essential functions of

 the job” and further disputes that the USPS would have to eliminate the essential functions of a

 CCA position or create a job for Plaintiff that did not exist within the USPS in order to reasonably

 accommodate her temporary pregnancy-related condition. In addition to the accommodations cited

 in the DRAC report, Plaintiff also requested multiple potential accommodations that the DRAC

 failed to address, including: 1) temporary (3 month) Light Duty position; 2) assignment to a

 temporary light duty position such as an office job; 3) assignment to truck driving duty; 4) to have

 a lighter mail bag; or 5) short term leave. Pl. Affidavit at USPS 0090. Moreover, the potential

 accommodation of short-term leave was brought up independently by Ms. Livingston to Ms.

 Bryant, Anthony Impronto, Matthew Doxsey, and David Rudy in an email from February 23, 2016.



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 February 23 Email. Further, Ms. Bryant, who was chair of the DRAC committee, acknowledged

 in testimony that short-term leave was a viable accommodation option under the law and that

 Plaintiff was already on short-term unpaid leave throughout the entirety of the DRAC process.

 Ex.6, Bryant Tr. at 159-60.

        74. The DRAC determined that with Plaintiff’s limitations, she “would not be able to

 perform the continuous walking duties on [Plaintiff’s] assigned route to deliver the mail/parcels …

 which are essential functions of the carrier position.” Ex. 6, April 2016 DRAC Letter. The DRAC

 explained that it had determined that it could not identify an accommodation that would enable

 Plaintiff to perform pushing/pulling a carrier cart that would weigh ten pounds or less. Id. Ms.

 Bryant testified that, based on Plaintiff’s physical restrictions, USPS was not able to provide any

 accommodation that would enable Plaintiff to perform the essential functions of the CCA position.

 Ex. 26, Bryant EEO Investigative Affidavit (Witness), USPS 0162-0181.

                Plaintiff’s Response: Disputed in part. It is undisputed that this is what the

 DRAC stated in its April 2016 letter, but Plaintiff disputes the DRAC’s assertion that the USPS

 was not able to provide any accommodation that would enable Plaintiff to perform the essential

 functions of the CCA position. Plaintiff requested multiple potential accommodations prior to and

 during the DRAC process that were not addressed by the DRAC, including short-term leave.

 Compare Ex. 3, Pl. Affidavit at 0090 with Ex. 12, DRAC Decision.

        75. The DRAC’s main consideration was whether there was “anything the Postal Service

 can do to accommodate this employee to be able to perform the core essential functions oftheir job,”

 and Plaintiff’s request that she only needed the accommodation for a few “months” was not

 relevant. Ex. 8, Bryant Tr. at 141.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this was



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 the DRAC’s main stated consideration, but disputes that the DRAC actually operated based on

 this statement. The DRAC failed to consider most of the potential accommodations that Plaintiff

 had requested, including short-term leave, and instead improperly limited its analysis to whether

 it could “move the relay boxes, “lighten Plaintiff’s load by “splitting the mail into two parts,” or

 give Plaintiff “quasi-sedentary work.” Compare Ex. 3, Pl. Affidavit at 0090 with Ex. 12, DRAC

 Decision.

        76. By letter dated April 14, 2016, USPS informed Plaintiff that it had denied her request

 for a reasonable accommodation. Ex. 6, April 2016 DRAC Letter.

                Plaintiff’s Response: Undisputed.

        77. The DRAC concluded that there were “no reasonable accommodation which could be

 afforded to [Plaintiff] which would enable you to perform the essential functions of your City

 Carrier Assistant position given your present medical restrictions.” Id.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this was

 DRAC’s conclusion, but Plaintiff disputes the factual accuracy of this statement. Plaintiff

 requested multiple potential accommodations that the DRAC failed to address, including: 1)

 temporary (3 month) Light Duty position; 2) assignment to a temporary light duty position such

 as an office job; 3) assignment to truck driving duty; 4) to have a lighter mail bag; or 5) short term

 leave. Ex. 3, Pl. Affidavit at USPS 0090. Moreover, the potential accommodation of short-term

 leave was brought up independently by Ms. Livingston to Ms. Bryant, Anthony Impronto,

 Matthew Doxsey, and David Rudy in an email from February 23, 2016. Ex. 7, February 23 Email.

 Further, Ms. Bryant, who was the DRAC Chair, acknowledged in testimony that short-term leave

 was a viable accommodation option under the law and that Plaintiff was already on short-term

 unpaid leave throughout the entirety of the DRAC process. Ex. 6, Bryant Tr. at 159-60.



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        78. The DRAC advised Plaintiff that, “[i]n the event that your medical condition changes

 and you believe that you can perform the duties of your position, please submit a new request for

 accommodation.” Id.

                Plaintiff’s Response: Undisputed.

        79. The DRAC further advised Plaintiff that she had the option “to resign and reapply for

 the CCA position when” she believed that she could perform the duties of the position, and that she

 could appeal the denial within 10 business days and provide additional information in support of

 any request for reconsideration. Id. The DRAC Letter also informed Plaintiff that she had the

 option of filing an EEO complaint with the Postal Service within 45 days of the receipt of the letter.

 Ms. Bryan also provided her contact information to answer any questions Plaintiff may have had

 with respect to the DRAC Interactive Meeting and process. Id.

                Plaintiff’s Response: Undisputed.

 G.     USPS Terminates Plaintiff’s Employment

        80. By letter dated June 2, 2016, USPS informed Plaintiff that her employment as a

 probationary CCA was terminated (“Termination Letter”). Pl. Tr. at 127; see Stamatelos Decl. at

 Ex. 27, June 2, 2016 Termination Letter, USPS 0352. The Termination Letter was signed by Isaac

 Middleton, Supervisor, Customer Service, at Homecrest Station. See Stamatelos Decl. at Ex. 28,

 Isaac, Middleton EEO Investigative Affidavit (Witness), USPS 0148-0161.

                Plaintiff’s Response: Undisputed.

        81. The Termination Letter explained that Plaintiff’s probationary period evaluation began

 with her date of appointment, here February 6, 2016, and had to be completed within 90 work days

 or 120 days of employment with the USPS, whichever came first. Ex. 27, Termination Letter,

 USPS 0352.



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                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this is the

 reasoning provided in the Termination Letter. Plaintiff disputes that this probationary employee

 restriction was concrete. Ms. Livingston inquired as early as February 23, 2016 as to whether

 Plaintiff’s probationary period could be extended. Ex. 7, February 23 Email. Additionally, upon

 Plaintiff’s first discussions with Mr. Smerling and Ms. Livingston, it was clear that Plaintiff’s

 maternity leave could begin without Plaintiff’s completion of her probationary period. Ex. 1, Pl.

 Tr. at 75; Ex. 11, Smerling Affidavit at USPS 0135. Finally, despite Plaintiff working multiple

 days within her probationary period, Defendants readily admit that Plaintiff was never evaluated

 in any way. See Def.’s ¶ 99, infra.

        82. The Termination Letter noted that, beginning on March 19, 2016, Plaintiff was on off-

 duty status (referred to as “last day in pay status” by USPS) due to the physical limitations caused

 by her pregnancy as described in the medical correspondence Plaintiff presented in support of her

 request for light duty, or an accommodation. See Stamatelos Decl. at Ex. 29, USPS Notice of

 Personnel Action, Svetlana Shkolnikova, USPS 0386; Ex. 30, Shkolnikova Non Career

 Separation/Termination Require Break in Service Request, USPS 0217-0218. The letter further

 explained that because the DRAC could not accommodate Plaintiff’s request, Plaintiff did not

 work sufficient hours during her probationary period for USPS to perform necessary performance

 evaluations during Plaintiff’s probationary status. These circumstances warranted termination of

 her employment with the USPS. Ex. 27, Termination Letter, USPS 0352.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the

 Termination Letter makes these statements. Plaintiff disputes that she was in “off-duty status”

 beginning only on March 19. Ms. Livingston testified that she took Plaintiff off the work schedule

 entirely on February 29, 2016, and Plaintiff was sent home every day she showed up to work



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 between February 23, 2016 and February 29, 2016. See Ex. 10, Livingston Affidavit at USPS

 0115; Ex. 11, Smerling Affidavit at USPS 0134-USPS 0136. Next, Plaintiff disputes that the

 DRAC could not reasonably accommodate Plaintiff’s request. Instead, the DRAC improperly

 failed to consider all of Plaintiff’s requested accommodations, including short-term leave. Ex. 3,

 Pl. Affidavit at USPS 0090. Finally, Plaintiff disputes that USPS was unable to evaluate Plaintiff

 at work due to the DRAC determination. Plaintiff was sent home without working on February 23,

 2016, long before her reasonable accommodation requests were sent to the DRAC. Id. at USPS

 0084. Plaintiff was not able to work between the period of February 23, 2016 and March 19, 2016,

 when the USPS finally acknowledged she was on “off-duty” status, solely because of her

 pregnancy and not because of any genuine attempt to accommodate Plaintiff’s needs. See Ex. 3,

 Pl. Affidavit at USPS 0084; Cela Decl. at Ex. 14, June 2, 2016 “Termination of City Carrier

 Assistant Appointment During Probation” Letter (“Termination Letter”).

        83. Plaintiff had worked only two days on her own delivering mail, before she requested

 light duty. She was not on the work schedule from February 23 to March 19, 2016. She was in an

 off-duty status beginning March 19, 2016, and met (represented by her attorney) with the DRAC

 on March 28, 2016. During her probationary period, USPS was unable to perform the necessary

 evaluations of Plaintiff’s work performance. Accordingly, her temporary appointment as a CCA

 was terminated. Although Plaintiff was advised that the termination was “not a reflectionon [her]

 capabilities and/or possible capabilities to perform the position,” and she was “encourage[d]” to

 apply for USPS positions in the future. Id., USPS 0216. Plaintiff has not appliedto USPS since the

 termination of her employment as a CCA. Pl. Tr. 128-129.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that she was

 only scheduled to work twice delivering mail on her own, on February 20 and 22, 2016. Plaintiff



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 disputes the connection between the DRAC finding and the USPS’s inability to evaluate Plaintiff

 during her probationary period. First, Plaintiff had multiple shifts under the supervision of Mr.

 Smerling and other USPS supervisors where she was able to display her proficiency in the skills

 required for the job. Ex.1, Pl. Tr. at 71-73, 80-82. One such shift was the “one hour” evaluation

 that Mr. Smerling administered after a conversation with Ms. Livingston regarding Plaintiff’s

 reasonable accommodation request. Livingston Tr. at 43-44. After that day, however, Plaintiff was

 never again put on the Homecrest schedule. Notably, neither Mr. Smerling nor Ms. Livingston

 claim responsibility for removing Plaintiff from the work schedule between February 23, 2016 and

 February 29, 2016. See Ex. 10, Livingston Affidavit at USPS 0115; Ex.11, Smerling Affidavit at

 USPS 0134-USPS 0136. The USPS was “unable to perform the necessary evaluations of Plaintiff’s

 work performance” solely because she was pregnant and not due to any legitimate effort to try and

 accommodate her temporary pregnancy-related condition. Plaintiff does not dispute that she has

 not applied to the USPS since the termination of her employment as a CCA.

 H.     Plaintiff Files an EEOC Complaint Following Her Termination

        84. On June 17, 2016 Plaintiff filed a Formal Complaint with the USPS Equal Opportunity

 Commission (“June 2016 EEOC Complaint”) through her attorney who previously worked at the

 same law firm which represents Plaintiff in the district court action. Pl. Tr. at 126; See Stamatelos

 Decl. at Ex. 31, June 2016 EEOC Complaint, USPS 0014-0019.

                  Plaintiff’s Response: Undisputed.

        85. Plaintiff’s June 2016 EEOC Complaint acknowledges that, to the DRAC, Plaintiff had

 only “requested a reasonable accommodation in the form of a short-term transfer to a job that did

 not require her to lift, push, and pull excessive weight until after she gave birth.” Ex. 31, June 2016

 EEOC Complaint, USPS 0017. Plaintiff also claimed that USPS terminated her employment



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 “solely because of her gender-specific disability (pregnancy).” Id. In addition, Plaintiff alleged her

 three-day “retraining” at Bay Station constituted “retaliation” for her request for an

 accommodation. Id. In the June 2016 EEOC Complaint, for the first time, Plaintiff faulted USPS

 for failing to “retain” her and “give her hours beginning after she gave birth.” Id. at USPS 0018.

                Plaintiff’s Response: Disputed in part. Plaintiff disputes that these are the only

 accommodations she requested prior to the June 2016 EEO complaint. The USPS EEO Final

 Agency Decision acknowledges Plaintiff’s testimony that she requested multiple potential

 accommodations, such as “a light duty assignment, such as an office job, truck driving duty, a

 lighter mail bag, or short-term leave, for three months until the end of her pregnancy.” Cela Decl.

 at Ex. 15, USPS EEO Final Agency Decision (“EEO Final Agency Decision”) at USPS 0324.

 Plaintiff does not dispute that, in her June 16 EEO Complaint, she asserted that “USPS terminated

 her employment solely because of her gender-specific disability (pregnancy).” Plaintiff disputes

 that the June 2016 EEO Complaint is the first time that Plaintiff “faulted” USPS for failing to

 retain Plaintiff until after her pregnancy, as she had requested, prior to the June 2016 EEO

 Complaint, that she be accommodated with short-term leave. Ex. 3, Pl. Affidavit at 0090.

 I.     USPS EEOC Investigates and Dismisses Plaintiff’s EEOC Complaint

        86. On June 23, 2016, EEO Dispute Resolution Specialist Darrell K. Ahmed completed an

 EEO Dispute Resolution Specialist’s (DRS) Inquiry Report. See Stamatelos Decl. at Ex. 32, USPS

 0032-0039.

                  Plaintiff’s Response: Undisputed.

        87. Mr. Ahmed had conducted a telephonic interview on April 5, 2016, with Mr. Smerling,

 who denied Plaintiff’s allegations of discrimination and stated that Plaintiff had provided medical

 documentation that she was unable to perform essential portions of her job without compromising



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 her health, which was the sole reason why Plaintiff was not provided withany work to perform.

 Ex. 32, USPS 0035.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this is what

 Mr. Smerling stated in his telephonic interview on April 5, 2016. However, Plaintiff disputes that

 Mr. Smerling’s April 5, 2016 interview was an accurate representation of the facts, as it directly

 contradicts Mr. Smerling’s own testimony regarding his knowledge of Plaintiff’s requests for

 reasonable accommodation. In an affidavit submitted to the USPS EEO Investigative Unit dated

 August 1, 2016, Mr. Smerling states that his only interaction whatsoever with Plaintiff’s request

 was that he knew Plaintiff “informed management that she was pregnant and had restrictions.” Ex.

 11, Smerling Affidavit at USPS 0134. Thereafter, Mr. Smerling states that Ms. Livingston was

 responsible for all communications and interactions with Plaintiff, that he was unaware that

 Plaintiff had made any reasonable accommodation request, that he had no knowledge of any

 subsequent discussions regarding attempts to accommodate Plaintiff or her abilities to perform the

 functions of the job, that Ms. Livingston made the decision to send Plaintiff home on February 23,

 2016, and that Plaintiff was “never on the work schedule” for Homecrest. Id. at 0134-0137.

 Notably, Ms. Livingston contradicted Mr. Smerling’s testimony by stating that she did not make

 the decision to send Plaintiff home on February 23, 2016 and that Plaintiff was initially on the

 work schedule for Homecrest that week, but that she made the decision to take Plaintiff off the

 work schedule starting on February 29, 2016. Ex. 10, Livingston Affidavit at 0115.

        88. Mr. Ahmed had conducted a telephonic interview on April 6, 2016 with Ms.

 Livingston, who also denied Plaintiff’s allegations of discrimination and explained that Plaintiff

 was unable to perform the essential functions of her position as a CCA, based on her limitations

 as presented in medical documentation provided by Plaintiff. Ex. 32, USPS 0035.



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                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that Ms.

 Livingston made this statement to Mr. Ahmed on April 6, 2016. Plaintiff disputes Ms.

 Livingston’s characterization that she understood on April 6, 2016 that Plaintiff was unable to

 perform the essential functions of her position as a CCA based on her medical documentation.

 Despite making this statement to Mr. Ahmed on April 6, 2016, Ms. Livingston contradicts herself

 by repeatedly stating in an affidavit for the USPS EEO Investigative Unit prepared on August 8,

 2016 that Ms. Livingston was in no way involved with making this determination as to whether

 Plaintiff was unable to perform the essential functions of her position as a CCA based on the

 medical documentation she provided beyond submitting the request to the DRAC. Ex. 10,

 Livingston Affidavit at USPS 0116-USPS 0118. Ms. Livingston further testified that she was not

 a “subject matter expert” on accommodation and did not have any input into any USPS decisions

 regarding whether or not Plaintiff was able to perform the essential functions of her position as a

 CCA. Ex. 4, Livingston Tr. at 119-21. Moreover, Ms. Livingston said she did not even have an

 opinion as to whether Plaintiff could or could not “do the job.” Id. at 121-22.

        89. On June 30, 2016, the USPS National EEO Investigative Services Office issued an

 Acceptance For Investigation of Plaintiff’s June 2016 EEOC Complaint. See Stamatelos Ex. 33,

 Acceptance for Investigation, USPS 0050-0053. The specific issues for investigation included the

 following: (1) “[o]n February 23, 2016, and continuing dates, you were told that there was no work

 available within your restrictions and you were sent home”; (2) “[o]n March 16, 2016, you were

 notified to report for ‘re-training’ from March 17-19, 2016”; (3) “[i]n April 2016, you were notified

 that the District Reasonable Accommodation Committee (DRAC) had denied your request for

 Light Duty work, and; (4) “[o]n or about June 2, 2016, you were notified via letter that you had

 been terminated from your City Carrier Assistant (CCA) position.” Ex. 33, USPS 0050.



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                Plaintiff’s Response: Undisputed.

        90. On August 31, 2016, EEO investigator Linda Ruggiero completed the EEO

 Investigation Report. Ex. 34, USPS EEO Investigative Summary, USPS 0057-0081. In connection

 with her investigation, Ms. Ruggiero collected affidavits from Plaintiff; Ms. Livingston; Mr.

 Smerling; Isaac Middleton; Ms. Bryant; and Timothy Lawson. Ex. 34, USPS 0059-0060. She also

 collected twenty-eight exhibits. Ex. 34, USPS 0061-0062.

                Plaintiff’s Response: Undisputed.

        91. In Plaintiff’s EEO Investigative Affidavit (Complainant), dated July 20, 2016, and

 submitted by her attorney, Plaintiff alleged USPS discriminated against her based on her gender

 (female), and retaliated against her by terminating her employment with the USPS, because

 Plaintiff filed “a complaint of discrimination” and participated “in the informal complaint process.”

 See Stamatelos Decl. at Ex. 35, Plaintiff’s EEO Investigative Affidavit, USPS 0082-USPS 0111.

                  Plaintiff’s Response: Undisputed.

        92. In her EEO Investigative Affidavit, Plaintiff further complained that Ms. Livingston

 and Mr. Smerling told Plaintiff that there was “no work” for her on February 23 and 29, 2016, and

 both “made no attempts to engage in the interactive process with me in an attempt to find a

 reasonable accommodation.” Ex. 35, USPS 0086.

                Plaintiff’s Response: Undisputed.

        93. Plaintiff claimed that               , a “CCA in Staten Island” was “accommodated for

 pregnancy.” Ex. 35, USPS 0086. During Plaintiff’s deposition, she testified that she knew Ms.

 through one of her friends. Ex. 1, Pl. Tr. at 129-131. During her deposition, Plaintiff testified that

 Ms.       “was given an accommodation by driving a truck and delivering light packages.” Id. at

 132.



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                Plaintiff’s Response: Undisputed.

         94. Plaintiff alleged that she “engaged in protected activity when [she] asked for a

 reasonable accommodation on February 22, 2016 and because of this I was retaliated against by

 Livingston who took away my hours and did not attempt to accommodate me.” Ex. 35, USPS

 0087.

                Plaintiff’s Response: Undisputed.

         95. In her EEO Investigative Affidavit, Plaintiff incorrectly claims that she requested

 “Short term leave” from the DRAC. Ex. 35, USPS 0090. The first time Plaintiff complained that

 USPS could have, but did not, offer short term leave was in her June 2016 EEOC Complaint.

 Compare Ex. 20, March 2016 Informal Complaint with Ex. 6, April 2016 DRAC Letter, and Ex.

 31, June 2016 EEOC Complaint. Such an allegation does not appear in her district court Complaint.

 See Dkt. No. 1, Complaint, ¶¶ 42, 60.

                Plaintiff’s Response: Disputed. Plaintiff requested short term leave through the

 DRAC process before and/or during the meeting. Ex. 3, Pl. Affidavit at 0090. Moreover, from the

 very outset of Plaintiff’s request for reasonable accommodation, a USPS managerial employee,

 Ms. Livingston, acknowledged the possibility of short-term leave as an option. Ms. Livingston

 explicitly asks in a February 23, 2016 email to Ms. Bryant, Mr. Doxsey, Mr. Rudy, and Postmaster

 Impronto if Plaintiff can “be left home till after her maternity leave.” Ex. 7, February 23 Email. It

 is also Ms. Bryant’s testimony that unpaid leave was viable accommodation option under the law

 and that Plaintiff was already on unpaid leave while the USPS considered her reasonable

 accommodation request. Ex. 6, Bryant Tr. at 159-61.

         96. Plaintiff also complained that she was “notified” for “re-training” between March 17

 and March 19, 2016 by Timothy Lawson, a manager at Midwood Station in Brooklyn, New York,



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 which Plaintiff alleged was “discriminatory” because “there was no reason for me to undergo

 training again.” Ex. 35, USPS 0087. Plaintiff was paid during these three days of training. Id., USPS

 0088.

                Plaintiff’s Response: Undisputed.

         97. In her EEO Investigative Affidavit (Witness), dated August 8, 2016, Ms. Livingston

 testified that she sent Plaintiff’s medical documentation to the Manager of Human Resources,

 David Rudy and Ms. Bryant, for review and to determine if USPS could accommodate Plaintiff’s

 request for light duty. Ex. 14, Livingston EEO Investigative Affidavit, USPS 0112- 0133. Ms.

 Livingston testified that there were no other carrier employees under her direction, with medical

 restrictions similar to Plaintiff, who were provided with light duty work. Id. at 0117.

                Plaintiff’s Response: Disputed in part. In the email, Ms. Livingston does not only

 reference light duty; instead, she specifically inquires as to whether Plaintiff’s probationary period

 can be extended or if Plaintiff “can be left home” until after her maternity leave. Ex. 7, February

 23 Email. Her February 23 Email was sent to Te’Nagh Bryant, Matthew Doxsey, Anthony

 Impronto, and David Rudy. Id.. Ms. Livingston’s March 17 Email was sent only to Anthony

 Impronto, and it is Mr. Impronto who forwarded the email to David Rudy, who then forwarded

 the email to Ms. Bryant. See Ex. 9, March 17 Emails.

         98. With respect to Plaintiff’s allegation that she was forced to “re-train” between March

 17-19, 2016, Ms. Livingston testified that Plaintiff “[w]as not scheduled for retraining” and that

 she “reported” to her purported “retraining” “without authorization. Id. USPS 0119. Mr. Smerling

 similarly testified that he was not aware of Plaintiff being scheduled for retraining. See Stamatelos

 Decl. at Ex. 36, Smerling EEO Investigative Affidavit (Witness), dated August 1, 2016, USPS

 0134-0147. And Mr. Lawson testified that since November 2011, he had no managerial



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 involvement in daily operations for Brooklyn USPS stations, had never met Plaintiff and did not

 make any managerial decisions regarding her employment with USPS. See Stamatelos Decl. at Ex.

 37, Timothy Lawson EEO Investigative Affidavit (Witness), dated July 25, 2016, USPS 0181-

 0195.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that Ms.

 Livingston testified that Plaintiff was not scheduled for retraining and that Mr. Smerling testified

 that he was not aware of Plaintiff being scheduled for retraining. Plaintiff does dispute the

 assertions made by Ms. Livingston, Mr. Smerling, and Mr. Lawson, as Plaintiff has repeatedly

 testified that Mr. Lawson called Plaintiff soon after Plaintiff made her March 10 complaint with

 the USPS EEO and instructed her that Ms. Livingston requested that she report for retraining at

 Bay Station. See Ex.1, Pl. Tr. at 120-21; Ex.3, Plaintiff Affidavit at USPS 0087- 0088.

         99. Ms. Livingston and Mr. Smerling both testified that Plaintiff’s performance was not

 evaluated at 30, 60, or 80-day intervals because Plaintiff did not work during her probationary

 period. Ex. 14, USPS 0125; Ex. 36, USPS 0134-0147.

                Plaintiff’s Response: Disputed. Plaintiff did work during her probationary period.

 Plaintiff’s probationary period began on February 6, 2016, Plaintiff’s official date of hire. See Ex.

 14, Termination Letter. On February 16, Plaintiff reported to Homecrest Station, where her

 supervisor Mr. Smerling “put [her] to work” helping out with sorting out mail for four hours. Ex.1,

 Pl. Tr. at 72, 145. Mr. Smerling supervised Plaintiff’s work and Ms. Livingston met Plaintiff on

 that day. Id. at 72-73, 75. Plaintiff was then directed by Ms. Livingston to report to Bay Station

 between February 17-19, 2016. Id. at 78. Between February 17-19, Plaintiff reported to Bay

 Station, where she spent February 17, 2016 learning how to properly prepare mail for delivery and

 February 18-19, 2016 going on two mail routes to deliver mail accompanied by one other CCA.



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 Id. at 80-81. On February 20, 2016, Plaintiff reported back to Homecrest, as instructed, where she

 was assigned to prepare and complete a mail route. Id. at 95. Plaintiff clocked in at Homecrest at

 8:30 AM and clocked out at 6 PM on February 20, 2016. Cela Decl. at Ex. 16, Svetlana

 Shkolnikova Time Sheets (“Pl. Time Sheets”) at USPS 0369. On February 22, 2016, Mr. Smerling

 again assigned Plaintiff a full mail route to prepare and complete. Ex.1, Pl. Tr. at 96-97. Plaintiff

 clocked at 7:30 AM and clocked out after 6:00 PM on February 22, 2016. Ex. 16, Pl. Time Sheets

 at USPS 0369. The day that Plaintiff first presented a letter requesting reasonable accommodation,

 February 22, 2016, Ms. Livingston testified that she spoke with Mr. Smerling and instructed him

 to give Plaintiff “minimum, a minimum of an hour” of work specifically to test Plaintiff’s

 proficiency in the tasks she had learned through training. Ex. 4, Livingston Tr. at 43-44. Ms.

 Livingston stated that Plaintiff, as a probationary employee, would be evaluated on her

 “attendance,” “attitude, her ability to get along with others, follow instructions, her ability to

 understand and perform tasks that were shown and taught to her” as well as “her ability to case,

 pull down and timely deliver” and her ability to “show improvement” and “follow rules and

 regulations.” Id. at 39. Despite completing many tasks over multiple days that, by Ms. Livingston’s

 definition, were pertinent for evaluation purposes, Defendant chose not to evaluate the Plaintiff

 for purposes of keeping her employed.

        100.    Ms. Bryant testified that she served as the DRAC Chairperson and that Ms.

 Livingston had referred Plaintiff to the DRAC because of Plaintiff’s request for a modification of

 her job duties as a CCA. Ex. 26, Bryant EEO Investigative Affidavit (Witness), USPS 0162-0181.

 Ms. Bryant first became aware of Plaintiff’s sex and pregnancy on March 17, 2016, when she was

 referred to the DRAC. Id.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that Ms. Bryant



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 served as the DRAC Chairperson, nor does Plaintiff dispute that Ms. Livingston had referred

 Plaintiff to the DRAC. Plaintiff disputes that Ms. Bryant first became aware of Plaintiff’s sex and

 pregnancy on March 17, 2016, as it is evident from the record that Ms. Livingston had emailed

 Ms. Bryant regarding Plaintiff’s first pregnancy-related accommodation request on February 23,

 2016. See Ex. 7, February 23 Email.

           101.    On September 8, 2016, a copy of the EEO Investigative Report was sent to Plaintiff

 and, although Plaintiff initially requested a hearing, Plaintiff withdrew her request, and EEOC

 Administrative Judge William Macauley remanded Plaintiff’s June 2016 Complaint to USPS for

 the issuance of a final agency decision due to Plaintiff’s withdrawal of her request for a hearing.

 See Stamatelos Decl. at Ex. 37, EEOC Order of Dismissal, USPS 0316-0317.

                   Plaintiff’s Response: Undisputed.

           102.    At the relevant time,                  served as a City Carrier Assistant at the

 Mariners Harbor Carrier annex in Staten Island, New York, and had no prior EEO activity. See

 Stamatelos Decl. at Ex. 38,                   , Notification of Personnel Action, USPS 0219-0220.

 Ms.         resigned from USPS on or about September 14, 2015 for unspecified personal reasons.

 Id. Ms.          did not work under Ms. Livingston’s direction. Ex. 14, Livingston EEO Investigative

 Affidavit, USPS 0118. Ms. Bryant testified that there was no record of a DRAC referral being

 requested for Ms.             and Ms. Bryant had no knowledge as to whether a light duty

 accommodation was provided for Ms.                . Ex. 26, Bryant EEO Investigative Affidavit

 (Witness), USPS 0171.

                   Plaintiff’s Response: Undisputed.

           103.    The USPS EEOC Final Agency Decision, dated August 14, 2018, summarized

 Plaintiff’s allegations of discrimination based on sex (female-pregnant) and retaliation (protected



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 activity) as follows: (1) “[o]n February 23 and 29, 2016, [Plaintiff] was told that there was no work

 available within her restrictions and she was sent home”; (2) “[o]n March 16, 2016, [Plaintiff] was

 notified to report for ‘re-training’ from March 17-19, 2016”; (3) “[o]n May 22, 2016, [corrected

 to April 14, 2016], she was notified that the District Reasonable Accommodation Committee

 (DRAC) had denied her request for Light Duty work”; and (4) “[o]n June 2, 2016, [Plaintiff] was

 notified via letter that she had been terminated from her City Carrier Assistant (CCA) position.”

 See Stamatelos Decl. at Ex. 40, Final Agency Decision, USPS 0318-USPS 0338.

                Plaintiff’s Response: Undisputed.

         104.   By Final Agency Decision dated August 14, 2018, and pursuant to Equal

 Opportunity Commission regulations at 29 C.F.R. § 1614.110, USPS EEOC concluded in a

 twenty-page decision that the evidence did not support a finding that the Plaintiff was subjected to

 the discrimination she alleged in her Formal Complaint. Ex. 40, Final Agency Decision, USPS

 0318-0341. Specifically, the agency found that Plaintiff failed to establish a prima facie case of

 sex/pregnancy discrimination because she could not identify any similarly situated USPS

 employees who were treated more favorably. With respect to Plaintiff’s allegations regarding Ms.

      , the Final Agency Decision noted that none of Plaintiff’s supervisors, or Ms. Bryant, were

 involved in Ms.       ’s request for light duty, and Ms.      worked at another location. Id., USPS

 0329.

                Plaintiff’s Response: Undisputed only as to the above being the assertions of the

 Final Agency Decision.

         105.   The Final Agency Decision also concluded that, assuming arguendo Plaintiff had

 established a prima facie case of discrimination based on sex/pregnancy or retaliation, USPS had

 articulated a legitimate, non-discriminatory reason for both denying Plaintiff’s request for a



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 reasonable accommodation and terminating her employment during her probationary period of

 employment. Id., USPS 0330-00336.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the Final

 Agency Decision made these conclusions. Plaintiff disputes that the Agency’s conclusions are

 supported by the record in this case. First, Plaintiff disputes that USPS articulated a legitimate,

 non-discriminatory reason for denying Plaintiff’s request for reasonable accommodation. USPS,

 at best, has articulated legitimate, non-discriminatory reasons for its inability to provide one

 specific accommodation requested by Plaintiff. See Ex. 12, DRAC Decision. However, despite the

 Final Agency Decision acknowledging Plaintiff’s testimony that she made multiple requests for

 accommodation including “a light duty assignment, such as an office job, truck driving duty, a

 lighter mail bag, or short-term leave, for three months until the end of her pregnancy,” the Agency

 only analyzes USPS’s consideration of light duty as a potential accommodation. See Ex. 15, Final

 Agency Decision. USPS has not articulated a single valid justification for its inability to provide

 Plaintiff any of the other suggestions made by Plaintiff throughout the DRAC process. Similarly,

 Plaintiff disputes that USPS has articulated a legitimate, non-discriminatory reason for

 terminating Plaintiff’s employment during her probationary period of employment. USPS has not

 justified either its failure to evaluate Plaintiff based on the work she had completed during her

 probationary period or its impermissible removal of Plaintiff from the Homecrest work schedule

 beginning on February 23, 2016, even though it did not officially consider her in “off-duty status”

 until March 19, 2016. See Counterstatement at ¶ 47; Ex. 14, Termination Letter. Both of these

 decisions by USPS effectively ended Plaintiff’s ability to act as a probationary employee, despite

 her repeated attempts to continue working at Homecrest. Plaintiff would not have been subject to

 these discriminatory and retaliatory actions if she were not pregnant during her employment with



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 USPS.

         106.   The Final Agency Decision noted that Plaintiff produced medical documentation

 dated March 7, 2016, which listed the following restrictions: (1) no lifting more than 10 pounds;

 walking only up to two hours continuous; (3) climbing one flight of stairs only in buildings; (3) no

 twisting; and (5) no pulling/pushing over 10 pounds. Id. USPS 0331.

                Plaintiff’s Response: Undisputed.

         107.   The Final Agency Decision noted that Ms. Bryant testified that, based on Plaintiff’s

 restrictions, USPS was not able to provide any accommodation that would enable her to perform

 the essential functions of her CCA position and there was no quasi-sedentary work available. Id.

 USPS 0331.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the Final

 Agency Decision noted this testimony from Ms. Bryant. Plaintiff disputes that this assertion from

 Ms. Bryant is a complete and accurate description of the potential accommodations available to

 Plaintiff. In addition to “quasi-sedentary work,” Plaintiff made numerous other reasonable

 accommodation requests including short-term leave. See Ex. 3, Pl. Affidavit at 0090. Ms. Bryant

 herself even conceded in testimony that unpaid leave was a viable accommodation option under

 the law and pointed out that Plaintiff was already on short-term leave while the DRAC process

 was ongoing. Ex. 6, Bryant Tr. at 159-60.

         108.   The Final Agency Decision noted that all CCA employees undergo a probationary

 period during which they are evaluated on “Work Quantity, Work Quality, Dependability, Work

 Relations, Word Methods, and Personal Conduct within 90 days of appointment or 120 days of

 employment with [USPS], whichever comes first,” and because management was unable to

 perform the necessary performance evaluations, Plaintiff’s temporary appointment as a CCA was



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 terminated. Id. USPS 0331; Ex. 8, Bryant Dep. Tr. at 80-83.

                 Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the Final

 Agency Decision noted this. Plaintiff disputes that the reason cited for Plaintiff’s termination is

 anything more than mere pretext for USPS’s discriminatory and retaliatory acts. Plaintiff

 completed on-the-job training between February 16, 2016 and February 19, 2016, where she was

 able to demonstrate her proficiency in the job duties, her attitude on the job, and her ability to learn

 and correct based on management feedback. This training included completing two mail routes,

 each with one other CCA in the truck. Ex.1, Pl. Tr. at 82-83. Further, Plaintiff completed two

 individual mail routes at Homecrest on February 20, 2016 and February 22, 2016. Id. at 95-97.

 Despite performing her job duties at two different facilities for multiple USPS supervisors,

 Defendant chose not to evaluate her. See Ex. 10, Livingston Affidavit at USPS 0125. Instead, she

 was sent home from work the day after she presented Ms. Livingston with a doctor’s note

 requesting a reasonable accommodation. See Ex. 3, Pl. Affidavit at USPS 0084; Ex. 11, Smerling

 Affidavit at USPS 0137. From that point forward, Plaintiff made multiple attempts to work, so she

 could be evaluated further during her probationary period, but she was sent home each time. See

 Ex. 3, Pl. Affidavit at 0084.

         109.    Accordingly, the Final Agency Decision concluded that, even if, arguendo, Plaintiff

 had established her prima facie case, USPS had articulated legitimate, non-discriminatory reasons

 for its inability to accommodate Plaintiff and its decision to terminate her employment during her

 probationary period. Ex. 40, USPS 0333.

                 Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that the Final

 Agency Decision made these conclusions. Plaintiff disputes that the conclusions are supported by

 the record in this case. First, Plaintiff disputes that USPS articulated a legitimate, non-



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 discriminatory reason for denying Plaintiff’s request for reasonable accommodation. USPS, at

 best, has articulated legitimate, non-discriminatory reasons for its inability to provide one specific

 accommodation requested by Plaintiff. See Ex. 12, DRAC Decision. However, despite the Final

 Agency Decision acknowledging Plaintiff’s testimony that she made multiple requests for

 accommodation including “a light duty assignment, such as an office job, truck driving duty, a

 lighter mail bag, or short-term leave, for three months until the end of her pregnancy,” the Agency

 only analyzes USPS’s consideration of light duty as a potential accommodation. See Ex. 15, Final

 Agency Decision. USPS has not articulated a single valid justification for its inability to provide

 Plaintiff any of the other accommodations requested by Plaintiff throughout the DRAC process.

 Similarly, Plaintiff disputes that USPS has articulated a legitimate, non-discriminatory reason for

 terminating Plaintiff’s employment during her probationary period of employment. USPS has not

 justified either its failure to evaluate Plaintiff based on the work she had completed during her

 probationary period or its impermissible removal of Plaintiff from the Homecrest Station work

 schedule beginning on February 23, 2016, even though it did not officially consider her “off-duty

 status” until March 19, 2016. See Counterstatement at ¶ 47; Ex. 14, Termination Letter. Both of

 these decisions by USPS effectively ended Plaintiff’s ability to act as a probationary employee,

 despite her repeated attempts to continue working at Homecrest. Plaintiff would not have been

 subject to either of these discriminatory and retaliatory actions if she were not pregnant during her

 employment with USPS.

        110.    Lastly, the Final Agency Decision concluded that Plaintiff cannot show that

 USPS’s stated reasons not accommodating Plaintiff’s requests and terminating Plaintiff’s

 employment were “pretext for intentional discrimination.” Ex. 40, USPS 0333. First, the Final

 Agency Decision noted that there was no evidentiary support for Plaintiff’s contention that



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 management instructed her to attend retraining in March 2016. Id. USPS 0334. Second, the record

 established that Plaintiff was pregnant at the time she was hired and was informed about the duties

 and responsibilities of the CCA position both at that time and during her three days of on-the-job

 training. Id. USPS 0335. The record further established that within a very short time of completing

 her training, Plaintiff presented medical documentation that contained severe restrictions on lifting

 and walking. Id.

                Plaintiff’s Response: Disputed in part. Plaintiff does not dispute that this is what

 the Final Agency Decision stated, but Plaintiff disputes the justifications cited in this Decision.

 Plaintiff does not dispute that she was pregnant at the time she was hired, nor does she dispute

 that she completed on-the-job training where she was informed about the duties and

 responsibilities of the CCA decision. Plaintiff further does not dispute the temporal proximity

 between the completion of her training and her reasonable accommodation request. However,

 Plaintiff disputes that there was “no evidentiary support” for her assertion that Mr. Lawson told

 her to go in for re-training. Plaintiff testified under oath that Mr. Lawson did so, and the only

 contrary evidence is corresponding testimony from USPS employees. See Ex. 3, Pl. Affidavit at

 USPS 0087-0088.

        111.    The Final Agency Decision concluded that no accommodation could be provided

 that would enable Plaintiff to perform the essential functions of her position and thus management

 was unable to evaluate her performance during the probationary period. Nor could Plaintiff provide

 any evidence of other non-pregnant employees who were treated more favorably when they

 required similar requests for light duty during their probationary period. Id.

                    Plaintiff’s Response: Disputed in part. It is undisputed that the Final Agency

 Decision parrots the USPS DRAC findings outlined above. Plaintiff disputes that the assertions



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 in these decisions are factually accurate based upon the record. The Final Agency decision notes

 specifically that Plaintiff testified to making many different potential accommodation requests

 including “a light duty assignment, such as an office job, truck driving duty, a lighter mail bag, or

 short-term leave, for three months until the end of her pregnancy,” and yet it makes no mention of

 the fact that the DRAC did not at all analyze the possibility of all but one of these potential

 accommodations. See Ex. 15, Final Agency Decision. Moreover, Plaintiff brought forward

 evidence of another pregnant employee, Ms.           , who was a CCA accommodated with light duty

 while pregnant at a different USPS facility, thus showing that pregnancy accommodations were

 possible at other facilities. Ex.1, Pl. Tr. at 129-32.

 J.      Rather than Reapply for a Position with USPS Following the Birth of Her Second
         Child in mid-2016, Plaintiff Returned to School and Secured Work as a Teacher

          112. In late 2016, after giving birth to her second child, Plaintiff worked for Gregory

   Shifrin, M.D., as a full-time employee earning $13.00 an hour until approximately August

   2017. Pl. Tr. at 34-35. Plaintiff estimated that she started working for Dr. Shifrin “a couple of

   days before Christmas” although her tax records indicate that she earned $854.00 from her

   employment with Dr. Shifrin. Ex. 1, Pl. Tr. at 37.

                   Plaintiff’s Response: Undisputed.

          113. In 2017, Plaintiff graduated from LaGuardia Community College in Queens, New

   York, where she was a full-time student in Fall 2016, and during all of 2015. Pl. Tr. at 17.

   Plaintiff began her education at LaGuardia Community College in 2013. Pl. Tr. at 17; 9.

                   Plaintiff’s Response: Undisputed.

          114. From LaGuardia Community College, Plaintiff earned a Childhood Education

   Associate Degree. Pl. Tr. at 19; 24.

                   Plaintiff’s Response: Undisputed.

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          115. In 2018 through February 2019, Plaintiff worked part-time for an after-school

   program for at least four hours a day earning approximately $15.00 an hour. Pl. Tr. at 23; 25.

   Beginning in approximately March 2019, Plaintiff worked as a full-time substitute teacher in

   a private school earning approximately $18.00 dollars an hour. Pl. Tr. at 21; 22.

                  Plaintiff’s Response: Undisputed.

          116. Plaintiff is currently a full-time student at Queens College, New York, pursuing

   her Bachelor’s of Arts Degree. Pl. Tr. at 15. She first enrolled at Queens College in spring

   2019 as a part-time student and expects to complete her Bachelor’s of Arts Degree by

   December 2021. Id. at 16; 19. Plaintiff is pursuing a degree in childhood education.

          Plaintiff’s Response: Undisputed as to the this being Plaintiff’s testimony at the time

   of her deposition.

                                                End.



        PLAINTIFF’S RULE 56.1 COUNTERSTATEMENT OF MATERIAL FACTS

 I. PLAINTIFF’S BACKGROUND INFORMATION

        1. Plaintiff and her husband have three children. Ex. 1, Pl. Tr. at 13-14.

        2. Plaintiff received an Associate’s Degree in childhood education from LaGuardia

 Community College in 2017. Id. at 19.

        3. At the time of her deposition, Plaintiff was a full-time student at Queens College

 pursuing a Bachelor’s Degree in childhood education. Id. at 19-20.

 II. PLAINTIFF’S HIRING AND TRAINING AS A CITY CARRIER ASSISTANT

        4. In or around early 2016, Plaintiff submitted an online application for a City Carrier

 Assistant (hereinafter “CCA”) position with the United States Postal Service (hereinafter “USPS”)


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 with the assistance of her husband. Id. at 45-46.

        5. Plaintiff knew she was pregnant when she submitted her CCA application. Id. at 65.

        6. After taking an online exam forwarded to her when she submitted the application,

 Plaintiff attended an in-person interview on or about January 7, 2016 for the CCA position. Id. at

 49, 51, 57.

        7. Plaintiff was approximately twenty weeks pregnant, and her pregnancy was visible,

 during her in-person interview. Id. at 68; Ex.3, Pl. Affidavit at USPS 0084.

        8. Plaintiff’s first day of employment as a CCA for USPS was February 6, 2016. See Ex.

 14, Termination Letter.

        9. February 6, 2016 was also the day that Plaintiff’s probationary period as an employee

 officially began. Id.

        10. Plaintiff attended a full-day orientation on February 8, 2016. Ex. 1, Pl. Tr. at 61.

        11. Beginning with the February 8, 2016 orientation, Plaintiff attended a full week of group

 training where she watched videos and listened to lectures regarding CCA job responsibilities. Id.

 at 63-64.

        12. After completing her initial training, Plaintiff was assigned to report to Homecrest

 starting February 16, 2016. Id. at 70.

        13. On February 16, 2016, Plaintiff met her supervisor, Mr. Smerling. Id. at 71.

        14. That day, Mr. Smerling assigned Plaintiff to help with sorting out mail for

 approximately 4 hours from 8:00 AM until 12:00 PM. Id. at 72, 145.

        15. Plaintiff was approximately twenty-five weeks pregnant and her pregnancy was visible

 when she had her first shift at Homecrest Station on February 16, 2016. Homecrest Station

 supervisor Isaac Middleton testified that he was aware of Plaintiff’s pregnancy because “she had



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 a big belly.” Ex.1, Pl. Tr. at 75; Cela Decl. at Ex. 17, Isaac Middleton EEO Investigative Affidavit

 (“Middleton Affidavit”) at USPS 0149.

        16. Plaintiff also met Adele Livingston, Area Manager, on February 16, 2016. Ms.

 Livingston gave Plaintiff the address of the three-day training location and asked Plaintiff outright

 if she was pregnant. Ex.1, Pl. Tr. at 75.

        17. Plaintiff had to go to Bay Station for her three-day training because Homecrest was

 insufficiently staffed to accommodate the training of new employees. See Ex. 4, Livingston Tr. at

 37; Ex.11, Smerling Affidavit at USPS 0138.

        18. Plaintiff went to Bay Station as instructed by Ms. Livingston and completed her three-

 day training from February 17 to19, 2016. Ex.1, Pl. Tr. at 78-80.

        19. On February 18, 2016 and February 19, 2016, Plaintiff worked full days and

 successfully delivered mail on a full route accompanied by one other CCA each day. Id. at 81-83.

        20. After Plaintiff’s training at Bay Station was complete, she returned to Homecrest to

 continue her employment as a CCA. Id. at 69.

        21. On February 20, 2016 and February 22, 2016, Plaintiff went to Homecrest, as

 scheduled, and worked full days where she was able to prepare and complete full mail routes on

 her own. Ex. 1, Pl. Tr. at 93-96; Ex. 16, Pl. Time Sheets.

        22. On at least one of the occasions when Plaintiff completed her own mail route, Mr.

 Smerling was the manager who was supervising her. Exhibit1, Pl. Tr. at 96.

 III. Plaintiff’s Multiple Requests for Accommodation of Her Temporary Pregnancy-Related
      Condition and Defendant’s Retaliatory Responses to Plaintiff’s Protected Activity

    A. USPS’s Reasonable Accommodation Policies

        23. USPS’s Reasonable Accommodation Handbook indicates that an employee is

 permitted to make a request for accommodation “to his or her supervisor or manager or the

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 Manager, Human Resources (District).” Ex. 5, Reasonable Accommodation Handbook at USPS

 0288. The Reasonable Accommodation Handbook was in use while Plaintiff was employed by

 USPS. See Ex. 6, Bryant Tr. at 92-93.

        24. USPS’s Reasonable Accommodation Handbook also indicates that, once a USPS

 employee receives a reasonable accommodation request, the employee “must process the request

 promptly” and “engage the requestor in an informal dialogue” regarding the details surrounding

 the accommodation. Ex.5, Reasonable Accommodation Handbook at USPS 0288.

        25. It is the responsibility of the proper recipient of a reasonable accommodation request

 to engage in an “informal dialogue with the individual seeking accommodation” throughout the

 process of determining whether reasonable accommodation is possible. Id. at USPS 0290.

        26. The USPS reasonable accommodation handbook instructs the recipient of a reasonable

 accommodation request to be an active participant in identifying potential accommodations for the

 requestor. Id. at USPS 0294. It recommends consulting “a number of people” including the

 requestor, “operations, safety, and/or medical personnel, as appropriate” to formulate a list of

 potential accommodations. Id. It goes on to state, “you may offer alternative suggestions for

 reasonable accommodations and discuss their effectiveness in removing the workplace barrier that

 is impeding the individual.” Id.

        27. An employee who receives a request for reasonable accommodation can refer the

 request to DRAC when “one or more of the following is true: you are not certain if the impairment

 rises to the level of a disability under the Rehabilitation Act; you have questions concerning the

 reasonableness of the accommodation requested and whether it poses an undue hardship; you need

 help finding a way to accommodate the individual; you believe the request for accommodation

 should be denied; you are considering separating the employee for inability to perform the



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 functions of his or her position.” Id. at 289.

          28. Ms. Bryant, chairperson of the DRAC, testified that the appropriate time for a manager

 to refer a light duty accommodation request to DRAC is after the manager determines he or she is

 unable to grant the request. Id.; Ex. 6, Bryant Tr. at 52.67

     B. Plaintiff’s Initial Reasonable Accommodation Request and the Inadequate USPS
        Management Response

          29. Plaintiff attended a regularly scheduled doctor’s appointment with her OB-GYN, Dr.

 Stromer, on February 18, 2016. Ex.1, Pl. Tr. at 83.

          30. After examining Plaintiff and discussing her new CCA role with her, Dr. Stromer

 provided Plaintiff with a note requesting reasonable accommodation of “restricted duty, very light

 work” (“February 18 Note”) for temporary, pregnancy-related condition to be presented to

 Plaintiff’s USPS supervisors. Id. at 85; Cela Decl. at Ex. 18, February 18 Note.

          31. It is Plaintiff’s understanding that Dr. Stromer made this recommendation in an

 abundance of caution due to serious, life-threatening complications Plaintiff had in her first

 pregnancy. Ex.1, Pl. Tr. at 85.

          32. On February 22, 2016, Plaintiff presented the February 18 Note to Ms. Livingston, who

 rejected the note as “vague.” Ex. 4, Livingston Tr. at 42.

          33. Ms. Livingston understood the February 18 Note to be a request for light duty. Id. at

 41-42.

          34. Ms. Livingston testified that she did not at any time ask Plaintiff to get another doctor’s

 note after rejecting a doctor’s note for being insufficient. Id. at 46. Instead, Ms. Livingston testified

 that she used her meetings regarding the doctor’s notes with Plaintiff to give Plaintiff an overview

 of the physical requirements of the CCA job “so that she could do as she chose with it.” Id.

          35. Ms. Livingston testified that it was not “within [her] right” to request an additional

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 doctor’s note from Plaintiff. Id. at 71.

          36. Ms. Livingston stated that she did not have the authority to grant or deny a request for

 reasonable accommodation due to “postal rules and regulations” and that she was trained to

 forward all requests to the human resources manager “for them to do whatever it is that they do.”

 Id. at 21-22.

          37. After receiving Plaintiff’s February 18 Note on February 22, 2016, Ms. Livingston

 instructed Mr. Smerling to give Plaintiff “minimum, a minimum of an hour” of work according to

 protocol so that he could evaluate her proficiency in CCA duties and responsibilities. Id. at 43.

          38. On February 22, 2016, Plaintiff completed a full route on her own and was clocked in

 at Homecrest from 7:30 AM until after 6:00 PM on that day. Ex.1, Pl. Tr. at 97; Ex. 16, Pl. Time

 Sheets at USPS 0369.

          39. On February 23, 2016, Ms. Livingston emailed the February 18 Note to Te’Nagh

 Bryant, USPS’s Head of Labor Relations and Chair of its District Reasonable Accommodation

 Committee; Anthony Impronto, the Postmaster of Brooklyn; Matthew Doxsey, Manager of Health

 and Resource Management; and David Rudy, Human Resources Manager. Ex. 7, February 23

 Email.

          40. In the email, Ms. Livingston indicated that she felt the note was “not satisfactory,”

 asked what her “recourse” was with regards to the requesting employee because she “was told

 before the rules are different for pregnant employees,” and finally asked if it was possible for

 Plaintiff’s probationary period to be extended and if she could be placed on short-term leave until

 after her maternity leave. Id.

    C. Immediate Retaliation by USPS Management Employees Against Plaintiff for
       Engaging in Protected Activity

          41. The day after presenting Ms. Livingston her February 18 Note requesting a reasonable

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 accommodation for her temporary, pregnancy-related condition, Plaintiff went to Homecrest as

 scheduled for work but was told by Mr. Smerling to go home because there was “no work” for her.

 Ex. 3, Pl. Affidavit at USPS 0084.

        42. Neither Mr. Smerling nor Ms. Livingston admit to making the decision to send Plaintiff

 home on February 23, 2016, nor do they admit to keeping her off the schedule between February

 23, 2016 and February 29, 2016. Compare Ex. 4, Livingston Tr. at 125-27 with Ex. 11, Smerling

 Affidavit at USPS 0134.

        43. Ms. Livingston specifically stated that she did not direct anyone at Homecrest to take

 Plaintiff off the schedule until February 29, 2016 and that only Mr. Smerling and Mr. Middleton

 were responsible for scheduling at the Homecrest Station. Ex. 4, Livingston Tr. at 48, 125-27.

        44. Ms. Livingston recalled that Plaintiff was on the Homecrest work schedule for around

 thirty days prior to Plaintiff’s removal from the schedule despite her acknowledgement that she

 met Plaintiff on her first day working at Homecrest, which was February 16, 2016, and admission

 that she removed Plaintiff from the work schedule on February 29, 2016. See Ex. 4, Livingston Tr.

 at 38, 128; Ex. 10, Livingston Affidavit at USPS 0115.

        45. Mr. Smerling indicates that Ms. Livingston instructed him to send Plaintiff home on

 February 23, 2016 and that Ms. Livingston was responsible for all interactions with Plaintiff after

 that day. Ex. 11, Smerling Affidavit at USPS 0134.

        46. Additionally, Mr. Smerling did not believe Plaintiff was ever on the work schedule at

 Homecrest. Id. at USPS 0136.

        47. Plaintiff was not allowed to work at Homecrest from February 23, 2016 until her

 termination on June 2, 2016. See Ex. 3, Pl. Affidavit at 0084; Ex. 14, Termination Letter.




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    D. Plaintiff’s Subsequent Requests for Reasonable Accommodation

        48. On February 24, 2016, Plaintiff received a second note from Dr. Stromer stating that

 Plaintiff could “only lift up to 10 pounds and only push and pull up to 30. She can only do limited

 stairs usage and limited bending” (“February 24 Note”). Cela Decl. at Ex. 19, February 24 Note.

        49. After receiving the February 24 Note, Plaintiff brought it to Homecrest and presented

 it to Ms. Livingston. Ex.1, Pl. Tr. at 101.

        50. Ms. Livingston again rejected the note and told Plaintiff that it was “not specific

 enough.” Ex. 4, Livingston Tr. at 45.

        51. Ms. Livingston then typed up a letter in Plaintiff’s presence containing a list of

 activities including lifting, sitting, standing, walking, climbing, kneeling, bending, stooping,

 twisting, pulling, pushing, and driving a 2-ton postal truck to present to Plaintiff’s doctor for his

 consideration. Ex.1, Pl. Tr. at 106-07; Cela Decl. at Ex. 8, February 29 Note.

        52. On February 29, 2016, Plaintiff presented Dr. Stromer with the list typed by Ms.

 Livingston and he indicated whether and to what extent Plaintiff could participate in each activity

 by marking the letter accordingly. Ex.1, Pl. Tr. at 107; Ex. 8, February 29 Note.

        53. The February 29 Note indicated that Plaintiff could lift, push, and pull up to ten pounds;

 walk for up to two hours; climb up one flight of stairs; and drive a two-ton postal truck, kneel,

 bend, stoop, sit, and stand without restriction. The February 29 Note only outright removes

 twisting from Plaintiff’s capabilities. Ex. 8, February 29 Note.

        54. After receiving the February 29 Note, Ms. Livingston made the decision to remove

 Plaintiff from the Homecrest work schedule without discussing her reasoning with Plaintiff. Ex.1,

 Pl. Tr. 109-10; Ex. 10, Livingston Affidavit at USPS 0115.

        55. Despite Dr. Stromer responding to each activity listed by Ms. Livingston, Ms.



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 Livingston again declared the letter was insufficient because it was not “descriptive enough.” Ex.

 10, Livingston Tr. at 68.

        56. Plaintiff went back to Dr. Stromer yet again to request a more detailed letter, but Dr.

 Stromer instructed Plaintiff to go to her primary care physician instead. Ex.1, Pl. Tr. at 110-11.

        57. Plaintiff visited her primary physician’s office on March 7, 2016. Id. at 111.

        58. The physician’s assistant at Plaintiff’s primary care office, Semyon Elyash, examined

 Plaintiff for approximately 20-30 minutes and then typed up a letter describing Plaintiff’s

 restrictions that was signed by Plaintiff’s primary care physician, Dr. Fayngersh. (“March 7

 Note”). Id. at 111-12; Ex. 13, March 7 Note.

        59. Plaintiff attempted to deliver the March 7 Note to Ms. Livingston in person, but

 Plaintiff was told that Ms. Livingston was not present at Homecrest on that day. Ex.1, Pl. Tr. at

 114.

        60. In addition to attempting to deliver the March 7 Note to Ms. Livingston at Homecrest,

 Plaintiff went to three different stations that Plaintiff knew Ms. Livingston managed to try and

 deliver the letter to her directly, but Plaintiff was unable to locate Ms. Livingston. Id.

        61. Because Ms. Livingston was unavailable, Plaintiff gave the March 7 Note to Mr.

 Smerling so he could provide it to Ms. Livingston. Id.

    E. USPS’s Delayed Decision to Send Plaintiff’s Request to DRAC While Plaintiff
       Remained off the Homecrest Work Schedule

        62. Ms. Livingston testified that she submitted Plaintiff’s March 7 Note to David Rudy,

 USPS Manager of Human Resources. Ex. 4, Livingston Tr. at 77.

        63. Livingston emailed Postmaster Anthony Impronto on March 17, 2016 that she had sent

 him medical documentation regarding Plaintiff’s request “last week.” Ex. 9, March 17 Emails.

        64. There is no indication on the record that Mr. Rudy was contacted regarding Plaintiff’s

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 March 7, 2016 note until Mr. Impronto forwards Ms. Livingston’s March 17, 2016 email to Mr.

 Rudy and asks “Can we set this up for a DRAC??” Id.

        65. Mr. Rudy then acknowledges that a DRAC must be held “ASAP” for Plaintiff because

 Ms. Livingston pointed out via email that Plaintiff was “presently @ 7 1/2 months pregnant and

 forwards the email to Ms. Bryant. Id. It is only after this email that, on March 24, 2016, Ms. Bryant

 sent Ms. Livingston the Essential Functions Worksheet required to process a DRAC claim. See

 Cela Decl. at Ex. 35, Email Chain Between Te’Nagh Bryant, Anthony Impronto, and Adela

 Livingston Regarding the Essential Functions Worksheet (“Essential Functions Worksheet

 Email”); Ex. 6, Bryant Tr. at 30-31.

        66. Ms. Livingston never communicated with the Plaintiff about why she cut Plaintiff’s

 hours entirely after February 29, 2016. Ex.1, Pl. Tr. at 109-10.

        67. By her own admission, Ms. Livingston never engaged in any interactive process with

 the Plaintiff to try and determine whether USPS could accommodate her temporary, pregnancy-

 related condition. Ex. 10, Livingston Affidavit at USPS 0116.

        68. Ms. Livingston instead indicates that she merely submitted Plaintiff’s request to

 Human Resources and “did not have any input regarding the decision.” Id.

        69. Ms. Livingston also testified that she submitted Plaintiff’s reasonable accommodation

 request to the DRAC because no one responded to the question in Ms. Livingston’s February 23,

 2016 email as to whether Ms. Livingston would be able to grant Plaintiff short-term leave until

 after her maternity leave. Ex. 4, Livingston Tr. at 87.

        70. Even though Plaintiff was not given any work hours since February 22, 2016, USPS

 did not consider her on “off-duty” status until March 19, 2016. See Ex. 3, Pl. Affidavit at 0087;

 Ex. 14, Termination Letter.



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 IV. PLAINTIFF’S MARCH 10 COMPLAINT TO THE USPS EEO AND USPS’S
     SUBSEQUENT RETALIATION FOR PLAINTIFF’S PROTECTED ACTIVITY

         71. Due to USPS’s treatment of Plaintiff between February 16, 2016 and March 7, 2016,

 Plaintiff filed a complaint with the USPS EEO office on March 10, 2016. Cela Decl. at Ex. 20,

 Information for Pre-Complaint Counseling Form (“March 10 Complaint”).

         72. In the March 10 Complaint, Plaintiff describes being told to stay home multiple times

 and that there was no work for her at Homecrest soon after presenting her note from Dr. Stromer

 to Ms. Livingston for the first time on February 22, 2016. Id. at 0036.

         73. Plaintiff’s requested resolution in the March 10 Complaint was to be given work hours

 again and for her temporary, pregnancy-related condition to be reasonably accommodated. Id. at

 USPS 0037.

         74. In the March 10 Complaint, Plaintiff also requests that she be transferred “to another

 station or district that does not have any issues handling [her].” Id. at USPS 0037.

         75. Shortly after Plaintiff submitted her March 10 Complaint, she received a call from

 Timothy Lawson, another USPS supervisor, stating that Ms. Livingston had requested that Plaintiff

 receive additional training at Bay Station. Ex.1, Pl. Tr. at 121.

         76. Plaintiff went to re-training as instructed between March 17, 2016 and March 19, 2016.

 Ex. 3, Pl. Affidavit at 0087-0088; Ex. 16, Pl. Time Sheets at USPS 0372-0373.

         77. Plaintiff clocked in and out at Bay Station on March 17, March 18, and March 19

 without intervention. Ex. 16, Pl. Time Sheets at USPS 0372-0373.

         78. Plaintiff was trained by a USPS employee named Toya. Ex. 3, Pl. Affidavit at USPS

 0088.

         79. During the second 3-day training, Plaintiff did not learn any new information and was

 merely re-taught what she had already learned in her initial training. Id.

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         80. Plaintiff testified that she did not know of any other USPS employees who were

 required to report for re-training. Id.

         81. On June 6, 2016, Plaintiff received a letter through her attorney from USPS EEO ADR

 Specialist Darrell Ahmed indicating that he had concluded “processing” Plaintiff’s claim of

 discrimination. Cela Decl. at Ex. 21, June 3, 2016 Letter from Darrell K. Ahmed, USPS EEO ADR

 Specialist (“EEOC ADR Letter”).

         82. In the EEO ADR Letter, Mr. Ahmed indicates that he conducted an inquiry into

 Plaintiff’s claim. Id. He summarizes that both Mr. Smerling and Ms. Livingston indicated that they

 denied Plaintiff’s allegations and he “would not grant [Plaintiff’s] requested resolution.” Id.

         83. Mr. Ahmed then invites Plaintiff to file a formal complaint with the USPS EEO office.

 Id.

 V. DEFENDANT’S INADEQUATE DRAC INVESTIGATION AND INTERACTIVE
    MEETING

         84. The USPS DRAC process is not ordinarily activated until management determines

 locally that it cannot provide an employee with a requested reasonable accommodation. See Ex. 6,

 Bryant Tr. at 52.

         85. The USPS reasonable accommodation handbook indicates that “the RAC meets with

 an individual to: (1) Review medical information. (2) Discuss and evaluate limitations to major

 life activities. (3) Discuss essential functions of the position in question and explore whether and

 how the individual can perform those functions without posing a direct threat. (4) Elicit input

 regarding potential accommodations, including alternatives such as reassignment (where

 necessary and available and appropriate).” (emphasis added). Ex. 5, Reasonable Accommodation

 Handbook at USPS 0296.

         86. At no point in the USPS reasonable accommodation handbook does it state that the

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 RAC is limited to analyzing only the reasonable accommodations specifically requested by the

 employee. See Ex.5, Reasonable Accommodation Handbook. Instead, the RAC is supposed to

 make a finding as to whether any accommodation would have the desired aims. Id. at USPS 0296.

         87. Ms. Bryant stated that the DRAC is able to consider multiple reasonable

 accommodations that could mean “where we change cases, we change the way that employee does

 business, we change the way that the Postal Service or what the Postal Service can provide for that

 employee to help them do the core essential functions of that job.” Ex.6, Bryant Tr. at 53. Ms.

 Bryant stated specifically that the reasonable accommodations considered by the DRAC can be

 more “in-depth” than light duty. Id. at 53-54.

         88. Plaintiff’s DRAC Interactive Meeting took place on March 28, 2016. Ex. 12, DRAC

 Decision.

         89. Plaintiff was present at the DRAC Interactive Meeting and accompanied by her

 attorney. Id.

         90. USPS employees Te’Nagh Bryant, who was Chairperson of the DRAC, Pamela Harris,

 Irene Fanelli, Matt Doxsey, Joy Zerna, Jeanette Brooks, Adela Livingston, Donald Spector, and

 Edwin Sanchez presided over the DRAC meeting. Id.

         91. Postmaster Anthony Impronto assigned Ms. Livingston to attend Plaintiff’s DRAC

 meeting as his representative because Ms. Livingston was “knowledgeable of the operations” at

 Homecrest and could advise DRAC on those conditions during the meeting. Ex. 6, Bryant Tr. at

 185; Cela Decl. at Ex. 22, March 23, 2016 Email Chain Between Tenagh Bryant, Anthony

 Impronto, and Adela Livingston (“March 23 Emails”)

         92. During the DRAC Interactive Meeting process, Plaintiff requested potential

 accommodations including: 1) temporary (3 month) Light Duty position; 2) assignment to a



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 temporary light duty position such as an office job; 3) assignment to truck driving duty; 4) to have

 a lighter mail bag; or 5) short term leave. Ex. 3, Pl. Affidavit at USPS 0090.

        93. Despite Plaintiff’s multiple suggestions, the DRAC only considered whether USPS

 would be able to “move the relay boxes,” “lighten the load that [Plaintiff] deliver[s] by splitting

 the mail into 2 parts,” or provide Plaintiff with “quasi-sedentary work.” Ex. 12, DRAC Decision.

 The DRAC Decision acknowledges that these are only “some” of the accommodations Plaintiff

 requested, but the decision does not discuss any of the other requested accommodations. Id.

        94. The DRAC Decision then concludes that “everyone participating in the DRAC

 meeting” concurred that no reasonable accommodation could be made for Plaintiff and that

 Plaintiff should either apply for a different position within USPS, resign her CCA position and re-

 apply after her pregnancy, or submit revised restrictions if her medical restrictions change. Id.

        95. Although Ms. Livingston was present at the DRAC meeting and participated as a

 representative of Postmaster Anthony Impronto due to her knowledge of Homecrest operations,

 she testified that she “did not participate” in the meeting, that she “did not have any input on the

 decision,” and “had no opinion” as to whether Plaintiff could or could not perform her job duties

 and responsibilities with any proposed limitations. Ex. 4, Livingston Tr. at 77, 118-19; Ex. 6,

 Bryant Tr. at 184.

 VI. DEFENDANT’S DISCRIMINATORY TERMINATION OF PLAINTIFF

    A. Defendant’s Termination Letter Outlining the Merely Pretextual Reasons for
       Plaintiff’s Termination

        96. Despite receiving her DRAC Decision outlining USPS’s position that Plaintiff was

 incapable of performing her job as a CCA due to her temporary, pregnancy-related condition;

 would not be granted any reasonable accommodation for her temporary, pregnancy-related

 condition; and inviting her to resign her position and re-apply at a later date, Plaintiff was not sent

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 a termination letter from USPS until June 2, 2016. See Ex. 12, DRAC Decision; Ex. 14,

 Termination Letter.

           97. The Termination Letter indicated that Plaintiff was terminated because she was “unable

 to work during [her] probationary period since March 19, 2016” because the DRAC concluded

 that Plaintiff would not be granted a reasonable accommodation for her temporary, pregnancy-

 related condition. The Termination Letter indicates that termination was necessary due to

 management being unable to evaluate Plaintiff beginning March 19, 2016. Ex. 14, Termination

 Letter.

           98. The termination letter makes no mention of Plaintiff’s on-the-job performance from

 February 16, 2016 to February 22, 2016. Id.

           99. Likewise, the termination letter is silent on the period between February 23, 2019 to

 March 18, 2019, when Plaintiff was removed from the Homecrest work schedule but was not yet

 considered by USPS to be in “off-duty” status. Id.

           100. Plaintiff gave birth to her second child the same day she received the Termination

 Letter. Ex.1, Pl. Tr. at 69.

           101. During the time that Plaintiff was not working but still employed by USPS, Ms.

 Bryant acknowledged that Plaintiff was technically on unpaid leave. Ex. 6, Bryant Tr. at 161.

     B. Notably, No USPS Employee Has Taken Responsibility for the Decision to Terminate
        Plaintiff.

           102. Ms. Livingston states she did not make the decision to terminate Plaintiff’s

 employment. Ex. 4, Livingston Tr. at 128. She testified that she was unaware of who made the

 decision to terminate Plaintiff but that she knew the termination letter was drafted by labor

 relations. Id. at 129, 132.

           103. Ms. Livingston also explained that station managers who had the opportunity to

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 supervise employees directly would typically make the decision to terminate, which she would

 then have an opportunity to “concur or not concur” with. Ex. 4, Livingston Tr. at 129-31. Ms.

 Livingston testified that the station managers responsible for Homecrest were Mr. Smerling and

 Mr. Middleton. Id. at 48.

        104. Ms. Bryant, Chair of the DRAC, testified that it was Ms. Livingston’s decision to

 terminate Plaintiff and that she assisted in drafting the termination letter. Ex. 6, Bryant Tr. at 205;

 Cela Decl. at Ex. 23, Te’Nagh Bryant EEO Investigative Affidavit (“Bryant Affidavit”) at USPS

 0173. Ms. Bryant also affirmed that she did not authorize Plaintiff’s termination and was only

 involved in the process to “advise” management on its labor and contractual obligations. Id. at

 204-05.

        105. Ms. Bryant sent Ms. Livingston a draft of Plaintiff’s termination letter with Ms.

 Bryant’s edits and corrections on June 2, 2016. Cela Decl. at Ex. 24, Email from Te’Nagh Bryant

 to Adela Livingston Containing the Draft Termination Letter (“Draft Termination Letter Email”).

 The draft was marked for Ms. Livingston’s signature, and Ms. Bryant’s email indicates that it

 would have been appropriate for Ms. Livingston to sign the letter, but the final document was

 instead signed by Mr. Middleton. Compare Ex. 24, Draft Termination Letter Email with Ex. 14,

 Termination Letter.

        106. Mr. Smerling, Plaintiff’s direct supervisor, testified that he did not know who made

 the decision to terminate Plaintiff, that he did not know why Plaintiff was terminated, and that he

 did not know what factors and documentation were considered when the decision was made to

 terminate Plaintiff. Ex. 11, Smerling Affidavit at USPS 140. In an email to EEO ADR Specialist

 Darrell Ahmed dated June 21, 2016, Mr. Smerling indicates that he “was not involved with this

 employee in any way shape or form” and that Ms. Livingston would be the person to contact for



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 more information regarding Plaintiff’s termination. Cela Decl. at Ex. 25, June 21, 2016 Email from

 Steven Smerling to Darrell K. Ahmed (“June 21 Email”).

        107. Mr. Middleton, a different supervisor at Homecrest Station who signed Plaintiff’s

 termination letter, testified that he had no input into the decision to terminate Plaintiff and was

 merely instructed to sign the termination letter by Ms. Livingston. Ex. 17, Middleton Affidavit at

 USPS 0153-0154.

 VII.   DEFENDANT’S INADEQUATE EEO INVESTIGATION AND FINAL AGENCY
        DECISION

    A. USPS’s EEO Investigation

        108. On June 6, 2016, Plaintiff received a letter from USPS ADR Specialist Darrell Ahmed

 concluding Plaintiff’s March 10 Complaint process and indicating that she had the right to file a

 formal EEO complaint within 15 days of the date of receipt. Ex. 21, EEOC ADR Letter.

        109. On June 17, 2016, Plaintiff, by and through her attorneys, filed a Formal Complaint

 with the USPS Equal Employment Opportunity Commission. Cela Decl. at Ex. 26, Plaintiff’s

 Formal USPS EEO Complaint (“June 17 Complaint”).

        110. On June 30, 2016, USPS EEO issued an “Acceptance for Investigation” letter as

 acknowledgement of Plaintiff’s June 17, 2016 complaint. Cela Decl. at Ex. 27, USPS EEO

 Acceptance for Investigation Letter.

        111. The Acceptance for Investigation letter indicated that Plaintiff was alleging

 “discrimination based on Sex (Female – pregnant) and Retaliation (Protected activity)” and

 outlined the specific issues to be investigated as “(1) On February 23, 2016, and continuing dates,

 you were told that there was no work available within your restrictions and you were sent home;

 (2) On March 16, 2016, you were notified to report for “re-training from March 17-19, 2016; (3)

 In April 2016, you were notified that the District Reasonable Accommodation Committee (DRAC)

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 had denied your request for Light Duty work, and; (4) On or about June 2, 2016, you were notified

 via letter that you had been terminated from your City Carrier Assistant (CCA) position.” Ex. 27,

 USPS EEO Acceptance for Investigation Letter at 1.

        112. On August 31, 2016, USPS EEO Investigator Linda Ruggiero completed an

 Investigation Report regarding Plaintiff’s June 17 Complaint. Cela Decl. at Ex. 28, Linda Ruggiero

 EEO Investigation Report (“Investigation Report”).

        113. The Investigation Report compiled documents including Plaintiff’s multiple doctor’s

 notes requesting reasonable accommodation; USPS training documents, policy statements and

 handbooks; USPS personnel records related to Plaintiff; information regarding comparator

 employees; documents related to plaintiff’s DRAC meeting; and Plaintiff’s termination letter. See

 Ex.28, Investigation Report. The Investigation Report also contained affidavits from Plaintiff, Ms.

 Livingston, Mr. Smerling, Mr. Middleton, Ms. Bryant, and Mr. Lawson. See Id. at 2-3.

    B. USPS’s Final Agency Decision and Plaintiff’s Response Thereto

        114. The USPS EEO issued a Final Agency Decision regarding Plaintiff’s complaints of

 discrimination and retaliation on August 14, 2018. Ex. 15, Final Agency Decision at 20.

       i. Final Agency Decision Findings With Respect to Discrimination

        115. The Final Agency Decision asserts that “a plaintiff can establish a prima facie case of

 pregnancy discrimination by showing that she is a member of that protected class, that she sought

 consideration for her condition but was denied, and that others similar in their ability or inability

 to work were treated more favorably.” Id. at 3.

        116. The Final Agency Decision indicates that Plaintiff has satisfied the first element of a

 prima facie case of sex/pregnancy discrimination. Id. at 10.

        117. The Final Agency Decision presumes that Plaintiff satisfies the second element of a



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 prima facie case of sex/pregnancy discrimination. Id at 11.

        118. The Final Agency Decision concludes that Plaintiff did not provide evidence of a

 relevant similarly-situated comparator employee and thus did not prove the third element of her

 prima facie case of sex/pregnancy discrimination. Id.

        119. Plaintiff has testified that there was a female, pregnant CCA in Staten Island (“SI

 CCA”) whose light duty request was accommodated. Ex. 1, Pl. Tr. at 130; Ex. 3, Pl. Affidavit at

 USPS 0086.

        120. Specifically, Plaintiff stated that SI CCA was given light duty in the form of driving

 a postal truck to deliver light packages. Ex.1, Pl. Tr. at 131.

        121. USPS acknowledges that SI CCA was a CCA employed at the Mariners Harbor

 Carrier annex in Staten Island, New York who resigned from USPS on or about September 14,

 2015. Cela Decl. at Ex. 29, SI CCA Employment History Report.

        122. There is no EEO activity on record for the SI CCA while she was employed by USPS.

 Ex. 29, SI CCA Employment History Report at USPS 0220.

        123. The USPS reasonable accommodation handbook indicates that a manager can grant

 reasonable accommodations without referring the request to DRAC. Ex. 5, Reasonable

 Accommodation Handbook at USPS 0289, 294. Ms. Bryant testified similarly that light duty

 requests can be processed locally by managers without DRAC involvement. Ex. 6, Bryant Tr. at

 53.

        124. Neither Ms. Livingston nor Ms. Bryant supervised SI CCA or participated in the

 decision to grant SI CCA her reasonable accommodation. Ex. 28, Investigation Report at 21.

        125. USPS has provided no documentation that SI CCA was not granted the reasonable

 accommodation Plaintiff described.



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        126. Two other pregnant employees, one a Mail Handler Assistant and one a CCA, went

 before Ms. Bryant’s DRAC requesting reasonable accommodations for their temporary,

 pregnancy-related conditions. See Cela Decl. at Ex. 30, Mail Handler Assistant Employment

 History Report Including DRAC Decision Letter (“Mail Handler Employment Records”); Cela

 Decl. at Ex. 31, CCA Employment History Report Including DRAC Decision Letter (“CCA

 Employment Records”).

        127. Ms. Bryant’s DRAC also denied these two pregnant employees’ requests for

 reasonable accommodation. See Ex. 30, Mail Handler Employment Records at USPS 0241-0243;

 Ex. 31, CCA Employment Records at USPS 0246-0248.

        128. Both pregnant employees had completed their probationary periods, but neither was

 granted short-term leave as an accommodation. See Ex. 30, Mail Handler Report at USPS 0241-

 0243; Ex. 31, CCA Employment Report at USPS 0246-0248.

       ii. Final Agency Decision Conclusions and Plaintiff’s Response

        129. Notably, with respect to Plaintiff’s claims that she experienced retaliation both when

 she was notified that the DRAC had denied her reasonable accommodation request and on June 2,

 2016 when Plaintiff was terminated by USPS, the Final Agency Decision concludes that Plaintiff

 “has satisfied the essential requirements of a prima facie case.” Ex. 15, Final Agency Decision at

 10.

        130. The Final Agency Decision incorrectly asserts that Plaintiff testified that her first

 protected activity took place on March 10, 2016. Plaintiff testified in the referenced affidavit that

 she first engaged in protected activity on February 22, 2016, when she first submitted her

 reasonable accommodation request. Compare Ex. 15, Final Agency Decision at 9-10 with Ex. 3,

 Pl. Affidavit at USPS 0087.



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        131. The Final Agency Decision also determined that USPS had provided non-

 discriminatory reasons for its actions that Plaintiff did not show were pretextual, so it closed

 Plaintiff’s complaint with a finding of no discrimination. Ex. 15, Final Agency Decision at 16, 19.

        132. The Final Agency Decision analyzes Plaintiff’s first, third, and fourth claims together

 and does not indicate which specific evidence it has used to analyze each separate claim. Id. at 18.

        133. As to Plaintiff’s second claim, that Plaintiff was told by another manager to report for

 re-training between March 17, 2016 and March 19, 2016, the Agency refuses to acknowledge

 Plaintiff’s testimony as accurate. Id. at 17.

        134. The Final Agency Decision informed Plaintiff of her right to file a civil action within

 90 calendar days of receipt of the final decision. Id. at 20.

        135. Thereafter, on November 9, 2018, Plaintiff, through her attorney, filed a civil action

 in the United States District Court for the Eastern District of New York. See Pl. Compl.

 Dated: New York, NY
        July 1, 2021

                                                         Respectfully submitted,
                                                                /s/Dorina Cela
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